             Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 1 of 87
            City of Boston
            Mayor Martin J. Walsh
            Laio




                                                          June 2, 2020

     VIA FIRST CLASS MAIL
     Civil Clerk's Office
     United States District Court
     District of Massachusetts
     One Courthouse Way
     Boston, MA 02210

     Re:    Holder, Alvin v. Boston Police Department, City ofBoston et al
            USDC, Dist. Of Massachusetts Docket No. 1:2019evl2207
            Suffolk Superior Court, Civil Action No. 2084CV00380
            Boston Law Department Case No. 20-0217

     Dear Mister or Madam Clerk:


             Enclosed please find certified copies of all docket entries, records, and proceedings in the
     state court, as those copies were received from the Civil Clerk's Office of the Suffolk County
     Superior Court.

            Thank you for your attention in this matter, and please don't hesitate to contact me with
     any issues or concems.

                                                   Sincerely youp


                                                   Ethan Katz
                                                   Paralegal
                                                   617-635-4029
                                                   Ethan.Katz@Boston.gov




ONE CITY HALL SQUARE 1BOSTON, MA 022011 BOSTON.GOV
CRTR2709-CR                      COMMONWEALTH
                 Case 1:20-cv-10656-RGS       OF 33
                                        Document MASSACHUSETTS
                                                    Filed 06/04/20 Page 2 of 87
                                                   SUFFOLK COUNTY CIVIL
                                                       Docket Report

                                                                                                     CO
                                                                                                     6^

                                                                                                     c^j
                 2084CV00380 Holder, Alvin vs. Boston Police Department, City of Boston et ai
                                                                                                     ZD


 CASE TYPE:           Contract / Business Cases                   FILE DATE:        02/10/2020
 ACTION CODE:         A04                                         CASE TRACK:       F - Fast Track
                                                                                                     Q-
 DESCRIPTION:         Employment Contract                                                            UJ
                                                                                                     «
 CASE DISPOSITION DATE 04/17/2020                                 CASE STATUS:      Closed
 CASE DISPOSITION:            Transferred to another Court        STATUS DATE :     04/17/2020       <X
                                                                                                     _J
 CASE JUDGE:                                                      CASE SESSION:     Civil F


                                                        PARTIES


 Plaintiff                                                     Attorney                                    630124
 Holder, Alvin                                                 Julie Anne Halaby
                                                               Halaby Law Group P C.
                                                               Halaby Law Group P.C.
                                                               14 Main St
                                                               Hingham, MA 02043
                                                               Work Phone (617) 827-3923
                                                               Added Date: 02/10/2020
                                                               Attorney                                    666003
                                                               Jon Arthur Halaby
                                                               Halaby Law Group P.C.
                                                               Halaby Law Group P.C.
                                                               14 Main St
                                                               Hingham, MA 02043
                                                               Work Phone (781) 749-0909
                                                               Added Date: 02/10/2020

 Defendant                                                     Attorney                                    644331
 Boston Police Department, City of Boston                      Edward F Whitesell
                                                               City of Boston Law Department
                                                               City of Boston Law Department
                                                               One City Hall Square
                                                               Room 615
                                                               Boston, MA 02201
                                                               Work Phone (617) 635-4045
                                                               Added Date: 04/13/2020

                                                               Attorney                                    651212
                                                               Nieve Anjomi
                                                               City of Boston
                                                               City of Boston
                                                               City Hall Rm615
                                                               Boston, MA 02201
                                                               Work Phone (617) 635-4098
                                                               Added Date: 04/13/2020

 Defendant
 Edward Davis in his Official Capacity as former
 Commissioner of the BPD


 Defendant
 Kenneth B Fong individually and in his Official
 Capacity as BPD Captain




Printed: 04/17/2020    9:27 am        Case No: 2084CV00380                                                 Page: 1
CRTR2709-CR     Case 1:20-cv-10656-RGS Document
                                COMMONWEALTH OF 33 Filed 06/04/20 Page 3 of 87
                                                MASSACHUSETTS
                                                 SUFFOLK COUNTY CIVIL
                                                       Docket Report




 Defendant
 Nicole I Taub Individually and in her Official Capacity
 as Senior Staff Attorney fot the BPD Office of the
 Legal Advisor

 Defendant
 Shawn Williams in his Official Capacity as Director of
 Public Records and Records Access Officer for the
 City of Boston and the Boston Police Department

 Defendant
 William Evan in his Official Capacity as former
 Commissioner of the BPD


 Defendant
 William G Gross in his Official Capacity as the
 Commissioner of the BPD




Printed: 04/17/2020   9:27 am         Case No: 2084CV00380                       Page:
CRTR2709-CR                    COMMONWEALTH OF MASSACHUSETTS
               Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 4 of 87
                                                 SUFFOLK COUNTY CIVIL
                                                           Docket Report




                                          INFORMATIONAL DOCKET ENTRIES

Date           Ref       Description                                                                  Judge

02/10/2020               Attorney appearance
                         On this date Julie Anne Halaby, Esq. added for PlaintiffAlvin Holder
02/10/2020               Attorney appearance
                         On this date Jon Arthur Halaby, Esq. added for PlaintiffAlvin Holder
02/10/2020               Case assigned to;
                         •CM Track F - Fast Track was added on 02/10/2020

02/10/2020       1       Original civil complaint filed.
02/10/2020       2       Civil action cover sheet filed.


                        {2.1M) (TRK)
02/10/2020               Demand for jury trial entered.
02/10/2020       3      Alvin Holder's MOTION for appointment of Special Process Server.
                        South Coast Legal Services, Inc. d/b/a The Constable's Network
02/20/2020               Endorsement on Motion to Appoint Special Process Server (#3.0):              Ames
                        ALLOWED
                        (dated 2/12/20) notice sent 2/18/20
04/09/2020       7      Service Returned for
                        Defendant Kenneth B Fong individually and in his Official Capacity as BPD
                        Captain: Service through person in charge / agent;
04/09/2020       8      Service Returned for
                         Defendant Edward Davis in his Official Capacity as former Commissioner
                        of the BPD: Service made at last and usual;
04/09/2020       9      Service Returned for
                        Defendant Shawn Williams in his Official Capacity as Director of Public
                        Records and Records Access Officer for the City of Boston and the Boston
                        Police Department: Service made at last and usual;
04/09/2020      10      Service Returned for
                        Defendant William Evan In his Official Capacity as former Commissioner
                        of the BPD: Service made at last and usual;
04/09/2020      4       Service Returned for
                        Defendant William G Gross In his Official Capacity as the Commissioner of
                        the BPD: Service made at last and usual;
04/09/2020      5       Service Returned for
                        Defendant Nicole I Taub individually and in her Official Capacity as Senior
                        Staff Attorney fot the BPD Office of the Legal Advisor: Service made at
                        last and usual;
04/09/2020      6       Service Returned for
                        Defendant Boston Police Department, City of Boston: Service through
                        person in charge / agent;
04/09/2020      11      Service Returned for
                        Defendant Boston Police Department, City of Boston: Service through
                        person in charge / agent;




Printed; 04/17/2020   9:27 am         Case No: 2084CV00380                                               Page: 3
CRTR2709-CR
                  Case 1:20-cv-10656-RGS Document
                                   COMMONWEALTH OF 33 Filed 06/04/20 Page 5 of 87
                                                   MASSACHUSETTS
                                                         SUFFOLK COUNTY CIVIL
                                                             Docket Report


                    9.
04/13/2020                   Attorney appearance
                             On this date Nieve Anjomi, Esq. added for Defendant Boston Police
                             Department, City of Boston
04/13/2020                   Attorney appearance
                             On this date Edward F Whitesell, Jr., Esq. added for Defendant Boston
                             Police Department, City of Boston
04/13/2020                   Notice of Removal to the United States District Court filed by

                             Defendant City of Boston {US Dist # 20-cv-10656)

                             Applies To: Boston Police Department, City of Boston (Defendant)
04/17/2020                   REMOVED to the U.S. District Court
                             of Massachusetts

04/17/2020                   Case transferred to another court.




             I HEREBY ATTEST AND CERTIFY ON
          April 28, 2020
             ^          *       , THAT THE
             FOREGOING DOCUMENT ISAFULL,
             TRUE AND CORRECT COPY OF THE
             ORIGINAL ON FILE IN MY OFFICE.
             AND INMY LEGAL CUSTODY.

                      MICHAEL JOSEPH DONOVAN
                      CLERK/MAGISTRATE
                      SUFFOLK SUPERIOR CIVIL COURT
                      DEgARTfS^ENT Of THE TRiAi rniiBT



                First Asst.         Clerk




Printed: 04/17/2020      9:27 am              Case No: 2084CV00380                                   Page: 4
         Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 6 of 87
                                                                                                            1

 COMMONWEALTH OF MASSACHUSETTS

 SUFFOLK, ss.                                        SUPERIOR COURT DEPARTMENT                          _
                                                     CIVIL ACTION NO.                        3>^C)r~


ALVm HOLDER,

        Plaintiff,


                                                                                   o
                                                                               o
                                                                                               £2^
BOSTON POLICE DEPARTMENT,
CITY OF BOSTON,                                                                          CO

WILLIAM GROSS, in his Official Capacity                                                        1-71
                                                                               >r:       o
as the COMMISSIONER OF THE BOSTON                                                  3r'
                                                                                               -•^Ei
POLICE DEPARTMENT,                                   )                         _,c
                                                                               C/i'
                                                                                         >     • ::>o

WILLIAM EVANS and EDWARD DAVIS,                                                          _p     •To
each in his Official Capacity as former
                                                                                         UJ
COMMISSIONER OF THE BOSTON
POLICE DEPARTMENT,
NICOLE TAUB, individually and in her
Official Capacity as Former Senior StaffAttorney
for the BOSTON POLICE DEPARTMENT,
KENNETH FONG, individually and
in his Official Capacity as
BOSTON POLICE DEPARTMENT CAPTAIN,
and SHAWN WILLIAMS, in his Official Capacity
as DIRECTOR OF PUBLIC RECORDS AND
RECORDS ACCESS OFFICER for the
CITY OF BOSTON AND THE BOSTON
POLICE DEPARTMENT,

Defendants.



              PLAINTIFF'S VERIFIED COMPLAINT AND JURY DEMAND

       PlaintiffAlvin Holder, by and through his attorneys, Halaby Law Group, P.C., and
complainingof the Defendants, alleges as follows:

                                 NATTTRF OF THF ArTTON


       This action arises from false accusations made by Boston Police Department ("BPD")
personnel against Plaintiff, Boston Police Detective Alvin Holder, and ongoing actions by the
BPD to cover up thedishonest acts of itspersonnel. The false accusations pertain to an October
                                               1
          Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 7 of 87



19, 2005 off-duty incident where Plaintiff witnessed an accidental shooting involving two fellow
off-duty officers. The BPD first accused Plaintiff of being untruthful when reporting the incident
on the night it occurred. But when evidence surfaced refuting the accusation, the BPD
constructed a new accusation, claiming that Plaintiff was untruthful when he was interviewed
about the incident three months later by the Internal Affairs Division ("LAD").

        An Arbitrator upheld the new accusation in 2013, but the IAD investigator's report
surfaced in late 2017 showing that the Arbitrator's decision was incorrect, and that Defendants
had committed fraud by misrepresenting the investigator's findings to the Arbitrator and
withholding the report from evidence. Plaintiff sought relief through the BPD but it has refused
to investigate or take action. Plaintiff now seeks relief through this Court to have the arbitration
decision set aside and untruthfulness determination removed from his file.

        This action concerns Defendants' violations of the following statutes: 42 U.S.C. § § 1983
and 1985 for depriving Plaintiff of his constitutional rights while acting under color of state law,
and conspiring as a group to do same; 42 U.S.C. § 1981 for discriminating against Plaintiff on
the basis of race under color of state law; Massachusetts collective bargaining law, G.L. c. 150E,
§ 10 for unfair labor practices including retaliation for exercising protected union member rights;
Massachusetts Whistleblower Law, G.L. c. 149, § 185 for retaliating against Plaintiff after he
complained about unlawful conduct; Massachusetts Personnel Record Law, G.L. c. 149, §52C
for withholding the IAD report from Plaintiff as a personnel record, and failing to remove the
untruthfulness determination; Massachusetts Public Records law, G.L. c. 66, § IDA for
withholding the IAD report from Plaintiff as a public record in violation of the January 9, 2019
Order from the Massachusetts Supervisor of Records.

        This action also concerns common law claims against individual Defendants for
defamation and tortious inference with employment and advantageous business relationship.
Defendants Fong and Taub's actions have harmed Plaintiff's reputation, opportunities for career
advancement, and his credibility as a government witness (a key aspect of his job.) This is
causing irreparable harm to Plaintiff and crime victims in the federal criminal justice system.
Plaintiff also has a claim for conversion of property (he was deprived of his personal firearm for
four years without justification) and fraud (for knowingly misrepresenting the IAD investigators
findings to the Arbitrator, causing the Arbitrator to rule against Plaintiff.)

         This action seeks monetary damages for economic and non-economic losses; declaratory
relief (declaring the IAD report to be a public record or personnel record that must be produced
to Plaintiff); equitable relief (including removal ofthe untruthfulness determination from
Plaintiffs record by way of an injunction, expungement pursuant to G.L. c. 149, § 52C, and/or
vacating the May 24, 2013 arbitration award pursuant to G.L. c. 150C, § 11); and other relief
requested herein.
                                             PARTIES


    1. Plaintiff Alvin Holder is an individual with a residential address of 4 Mansen Court, Hyde
        Park, Massachusetts, 02136.

    2. Defendant Boston Police Department ("BPD") is Plaintiffs employer and is an agency of
                                                  2
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 8 of 87



       the Defendant City ofBoston with its headquarters located at 1Schroeder Plaza, Boston
       Massachusetts 02120.                                                           ^   ou:»ion,


  ^ ^De't^vr                                                  and currently holds the position of
 4. Defendant William G. Gross is currently serving as the Commissioner ofthe BPD.
      defendants William Evans and Ed
 ^     the                f      f*
       tne BPD at times relevant herein.
                                 herein               previously served as the Commissioner of
 6. At times relevant herein. Defendant Nicole I. Taub was employed in the City ofBoston
     Law Department as aSenior StaffAttorney for the BPD Office ofthe Legal Advisor.
 7. At times relevMt herein. Defendant Taub regularly represented the BPD in personnel
      matters including labordisputes and arbitrations.

 8. Defendant Kenneth B, Fong is currently employed with the BPD serving in the role of
      Capton, and previously held other roles including Superintendent ofthe Internal Affairs
      Division at times relevant herein.

 9. Defender Shawn Wlliams is currently employed as Director ofPublic Records and
     Records Access Officer for the City ofBoston and its agencies including the BPD.
 10. Defendants Gross. Evans, Davis, Taub, Fong and Williams are all being sued in their
      hM b^n'^rBoston                                                   ofemployment is and/or
11 Defendants Taub and Fong are also being sued individually with respect to the claims of
     deto"atior           ^ employment and advantageous business relationship, and
                               JURISDICTION AND VF.NHir

12. Diis Court has jurisdiction over the Defendants and the subject matter ofthis action
                                           Defendants are Massachusetts citizens, amunicipality
      ton Massachusetts, Md an agency ofsaid municipality, and at times relevant herein
     Defendant earned out law enforcement activities in and from Massachusetts and
     Mmmitt^ torn mM^sachusetts and violations ofMassachusetts statutes including
     Lr the
     near m federal claims pursuant to the Supremacy Clause
                                                      "C. ofArticle
                                                            This CourtVIhasjurisdiction
                                                                         ofthe US to
     Constitution.

13. Venue IS pro^ in tos county because Defendants' unlawful conduct originated in, was
     coordinated in, and was carried out from Suffolk County.
        Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 9 of 87



                                  FACTUAL BACKGRQTTND


  14. Plaintiff is a highly decorated and respected police officer who has been employed with
       the BPD since 1998 and is currently serving in the role of Detective.

  15. Plaintiffhas a record of consistently positive job performance reviews, and with the
       exception of the situation thatis the subject ofthislawsuit, his record is free from any
       written reprimands.

  16. At times relevant herein. Plaintiff was a member of the Boston Police Patrolmen's
       Association, a union representing police officers of theCity ofBoston. He is currently a
       member of the Boston Police Detectives Benevolent Society Union.

  17. In the course of his employment with BPD, Plaintiff has testified as a witness for the
       prosecution in criminal trials, including multiple homicide cases that resulted in
       indictments and convictions.

  18. Being able to serve as a credible government witness in criminal proceedings is an
       important part of Plaintiffs job.

2005 OFF-DUTY INCIDENT

  19. On October 19, 2005 while offduty. Plaintiff was in the company oftwofellow Boston
      police officers (Frank Lee and Eric Mencey) who were also offduty, along with an off-
      duty Boston firefighter (Rayshawn Johnson), when Lee accidentally discharged a
      firearm, injuring Mencey.

  20. Plaintiff drove Mencey and Lee to theFaulkner Hospital so that Mencey could receive
      medical treatment.

  21. Plaintiff notified Boston Police Lieutenant Patrick Cullity of the incident.

  22. When notifying Cullity, Plaintiff provided him with the incident location which was
      Raldne Road in Hyde Park.

  23. BPD personnel responded to the Raldne Road location, including Sergeant John
      Cunniffe, the District 18 supervisor.

  24. BPD personnel also responded to the Faulkner Hospital.

  25. Superintendent Bobby Johnson interviewed Plaintiff at Faulkner Hospital regarding the
      accident.

  26. Superintendent Johnson asked Plaintiff whowas shot andPlaintiff responded thatit was
      Officer Mencey.
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 10 of 87



27. Superintendent Johnson asked Plaintiff who had the gun and Plaintiff responded that it
     was Officer Lee.

28. SuperintendentJohnson asked Plaintiff who was driving the vehicle and Plaintiff
     responded that Plaintiff was.

29. When Superintendent Johnson asked Plaintiff to provide further details. Plaintiff
    explained it was an accidental discharge of the gun from the back to the front of the
    vehicle and that he wouldgladly answer more questions after speaking with his union
    representative, who had instructed him to refrain from answering further questions at
    that point.

30. Although Plaintiff answered Superintendent Johnson's questions about who was in
    possession of the gun, he did not directly tell Superintendent Johnson that Lee
    discharged the firearm and shot Mencey.

31. Plaintiffdid not tell Superintendent Johnson that Lee shotMencey because he had been
    instructed by his union representative Officer Jay Broderick to refrain from providing
    such details at that point.

32. Union attorney Thomas Drechlser advised Plaintiffof his Miranda rights at Faulkner
    Hospital.

33. Plaintiff invoked his Miranda rights perthe instruction from the union attorney.

34. At the time. OfficerLee and Plaintiffwere members of the same union(the Boston
    Police Patrolmen's Association).

35. In instructing Plaintiffto limit his communication with BPD investigating officers
    regarding the incident, the union representative was acting to protect the rights of union
    members including Officer Lee.

36. As a way for Plaintiff to provide investigating officers with sufficient information about
    the shooter's identity without jeopardizing the rights of his fellow union member.
    Lieutenant Cullity instructed Plaintiff not to give the specific name of the shooterbut
    asked Plaintiff if it was "one of us" (i.e., a police officer.)

37. Plaintiff respondedto Lt. Cullity's question by saying "yes."

38. Lee was not questioned or interviewed about the October 19, 2005 incident by
    Superintendent Johnson or any otherBPD personnel while at Faulkner Hospital.

39. Lee spoke with union representativeOfficer Broderick and union Attorney Drechlser
    while at Faulkner Hospital, and invoked his Miranda rights.

40. Mencey received medical treatment in the FaulknerHospital emergency department for
                                            5
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 11 of 87



    his gunshot wound.

41. Mencey was not questioned or interviewed about the October 19,2005 incident by
    Superintendent Johnson or any other BPD personnel while at Faulkner Hospital.

42. Neither Supt. Johson nor any other BPD personnel attempted to contact eyewitness
    Rayshawn Johnson while at Faulkner Hospital or any time immediately thereafter.

43. In responding to questions from Supt. Johnson at Faulkner Hospital, Plaintiff provided
    the names of all individuals involved in the October 19, 2005 incident and listed the
    three BPD officerswho were in the vehicle as himself. Lee and Mencey.

44. Although Plaintiff did not specifically state that Lee shot Mencey, Supt. Johnson knew
    on October 19, 2005 (the day it happened) that it was Lee who shot Mencey.

45. Supt. Johnson knew on October 19, 2005 that the shooter was Lee by process of
    elimination as he knew it was one of the other police officers in the vehicle besides
    Plaintiff and he knew Mencey had not shot himself, so the shooter had to have been Lee.

46. At no time did BPD personnel believe that the shooter was someone other than one of
    the police officers in the vehicle.

47. At no time did BPD personnel conduct a search for the shooter.

48. Mencey was released from the hospital and recovered from his injuries and continues to
    be employed with BPD.

INTERNAL AFFAIRS

49. The IAD was assigned to conduct an investigation of the October 19, 2005 incident.

50. The IAD investigation was triggered by Complaint Control form 1920,Complaint #5953
    in which Plaintiff was accused of being untruthful when reporting the incident on the
    night it occurred.

51. As part of the investigation. Sergeant William J. Chinetti of the IAD interviewed
    Plaintiff on January 18, 2006.

52. In conducting his investigation, Sgt. Chinetti did not interview key witnessesincluding
    Superintendent Johnson or Lieutenant Cullity.

53. One purpose of the investigation was to evaluate Plaintiffs conduct on the night of the
    incidentto assess the merits of the complaint and determine if disciplinary action against
    him was warranted based on same.

54. In a notice dated May 19, 2006, Plaintiff was advised that the IAD had sustained the
                                            6
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 12 of 87



      allegations in the complaint that Plaintiffwas untruthful on the night of the incident.

  55. Plaintiff was nottold the IAD's findings with respect to why it sustained the allegations
      or how he allegedly lied on the nightin question, despite Plaintiffs multiple requests for
      this information.

  56. The withholdingof the IAD's findings in this situation was contrary to BPD rules,
      practices and procedures.

  57. On or about January 7, 2007, Plaintiff was presented with a settlement agreement from
      the BPD (dated September 7,2006) which providedfor a reduced suspension.

  58. The proposed settlement agreement accused Plaintiff of being untruthful during an
      interview with Sgt. Det. Talbot when he allegedly told Talbotthat he gave Supt Johnson
      the facts of the firearm discharge (i.e., the name of the shooter.)

  59. The accusation in the settlement agreement was different from the accusation contained
      in Complaint Control Form 1920, Complaint #5953.

  60. Plaintiff did not sign the settlement agreement.

WITHHOLDING OF FIREAJRM


  61. The BPD withheld Plaintiffs personal firearm for an extended and unreasonableperiod
      of time (four years) following the October 19, 2005 incident.

  62. Beginning in early 2006, Plaintiff and his attorney Ken Anderson submitted written
      complaints to the BPD about the improper withholding of his firearm and requested that
       it be returned.


  63. The BPD failed to provide justification for withholding the firearm and continued to
      withhold it until November 2009.

  64. The withholding of the firearm by the BPD was unlawful and contrary to BPD rules,
      practices and procedures.

2009 SUSPENSION


  65. In 2008, more than 2 years after the IAD investigation. Captain Kenneth Fong, who held
      the position ofSuperintendent atthe time, brought aformi complaint against Plaintiff.
  66. Fong's complaint included an allegation that Plaintiff was untruthful when he provided
      false information regarding the discharge of his firearm during the IAD interview on
      January 18, 2006.

  67. Fong did not allege that Plaintiff had been untruthful on the night of the incident as had
                                               7
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 13 of 87



     been originally alleged in Complaint Control Form 1920, Complaint #5953.


68. The reason Fong did not allege that Plaintiff had been untruthful on the night of the
     incident is becauseevidence had surfaced that refutedthis accusation, so Fong had
     constructed a new accusation.

69. Superintendent Fong's complaint was prompted by an improper motive, includinga
    motive to retaliate against Plaintifffor havingcomplained aboutthe BPD's withholding
    of his firearm and its violation of his rights with regard to same.

70. A departmental disciplinary hearing was held in front of Deputy Supt. Kelley
    McCormick on March 9, 2009for the purpose of addressing Superintendent Fong's
     complaint.

71. Attorney Taub represented the BPD at the March 9, 2009 disciplinary hearing.

72. Taub argued that Plaintiff must not have informed Supt. Johnson that Lee was the
     shooter because if Plaintiff had told him, Johnson would have interviewed Lee.

73. Taub's statement is untrue because Lee was an eye witness to the shooting and should
    have been interviewed by Supt. Johnson per BPD rules, practices and procedures.

74. Taub also arguedthat Plaintiffmust not have informed Supt. Johnson that Lee was the
    shooter becauseif he had, Johnson would have noted it in his report.

75. Taub's statement is untrue because Supt. Johnson admitted during the disciplinary
    hearing that he may have received that information from Plaintiff that Lee was the
    shooter even though it was not in his report.

76. On June 25, 2009 Plaintiffwas sent a Notice of Suspension by the BPD saying that he
    was being suspended for 45 days without pay based on Superintendent Fong's complaint
    including his ^legation that Plaintiffviolated Rule 102, §23 (truthfulness) by providing
    false information during the IAD interview with Set. Chinetti on January 18. 2006.

77. The Notice of Suspension did not providefactual detail nor did it explain how the
    information Plaintiff gave to Chinetti was false.

78. The Notice of Suspension did not accuse Plaintiff of lying on the night of the incident as
    had been originally alleged in ComplaintControl Form 1920, Complaint#5953.

79. As described herein, one purpose of the 2006 IAD interview of Plaintiff was to evaluate
    possible disciplinary action against Plaintiff for his actions on October 19. 2005. and
    now Fong's 2008 complaint focused on PlaintifTs actions during the IAD interview.

80. It was a violation of Plaintiffs rights for Fong and the BPD to have initiated disciplinary
                                             8
      Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 14 of 87



      action against him based on his statementsduring the disciplinary interview, especially
      since this was being done only because evidence had surfaced refuting the initid
      untruthfulness accusation.


  81. Plaintiff served the suspension without pay, causing him to lose 45 days / nine weeks of
       pay totaling approximately $25,000.00 and had the determination of untruthfulness
       placed in his personnel record.


roENTITY OF SHOOTER WAS ALREADY KNOWN TO BPD

  82. On the night of October 19,2005, BPD investigating officers were aware that the shooter
       was Officer Lee while at Faulkner Hospital; they did not conduct a search for a suspect,
       nor did they interview Lee after the union representative arrived even though Lee
       remained present at Faulkner Hospital through the time investigating officers were
       there.


  83. Had the BPD not known that Officer Lee was the shooter, it would have followed a
       different protocol on October 19, 2005 in an effort to conduct a search for the shooter.

  84. Plaintiffs conduct did not impair the efficient and orderly operation of the Department.

  85. Fong had no legitimate or good faith reason to pursue a complaint against Plaintiff;
       Plaintiff had provided enough information for the BPD to ascertain the name of the
       shooter while at Faulkner Hospital and was fully cooperating with their investigation.

  86. Fong's complaint against Plaintiff was baseless and his motives were improper.

2012 > 2013 ARBITRATION


  87. Plaintiff appealed the suspension decision and it was assigned to Arbitrator Michael C.
      Ryan, Esq.

  88. On November 19, 2012 (the day before arbitration proceedings began), the basis for the
      BPD's untruthfulness accusation remained unclear.

  89. The union attorney inquired with Attorney Taub about the basis for the untruthfulness
      accusation that was the subject of the arbitration, to which Taub responded by saying
      that Plaintiff was untruthful in the statements he made to supervisors on the night of the
      October 19. 2005 incident: she did not reference any accusation that Plaintiff was
      untruthful during the IAD interview.

  90. After the arbitration hearings in 2012 and 2013, Arbitrator Ryan upheld the suspension.

  91. Arbitrator Ryan issued a Decision and Award dated May 24, 2013 in which he decided
      that there had been just cause for Plaintiffs 2009 suspension for violating Rule 102, § 23
                                               9
      Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 15 of 87



      (truthfulness) because Plaintiff lied during the January 18. 2006 IAD interview when he
      told Sergeant Chinetti that he had provided SuperintendentJohnson and
      Lieutenant Cullity with the identity of the shooter in the October 19, 2005 incident.

  92. Sgt. Chinetti never interviewed Superintendent Johnson in connection with the IAD
      investigation.

  93. Supt. Johnson did not testify at the arbitration.

  94. Sgt. Chinetti never interviewedLieutenant Cullity in connection with his IAD
      investigation.

  95. An audio recording of Lieutenant Cullity's conversation with Sgt. Michael Fish from
      Operations shows Lieutenant Cullity provided false testimony at the arbitration.

  96. This audio recording was unknown to Plaintiff at the time of the arbitration and was
      intentionally withheldfrom evidence by Attorney Taub.

  97. Attorney Taub was required to provide Plaintiff and/or hisunion attorney with a copy of
      theaudio recording as pertheBPD rules, practices and procedures, andother applicable
      rules and laws.


  98. As a result of Arbitrator Ryan's decision and ruling against him, Plaintiffs unpaid
      suspension was affirmed and he had the permanent "untruthfulness" determination
      placed in his personnel record.

2013 COMPLAINT TO COMMISIONER DAVIS AND SUBSEQUENT RETALIATION

  99. In a complaint letter dated October 7,2013 sent to CommissionerEdward Davis, and
      subsequently to several command staff members. Plaintiff identified the
      misrepresentations made by Attorney Taub during the arbitration proceeding andthe
      mishandling of the IAD investigation into the October 19, 2005 incident, and Plaintiff
      asked the BPD to reject the arbitration decision, remove the untruthfulness
      determination from his file, and compensate him for the threemonths of wages that he
      lost because of the unjustified suspension.

  100. Plaintiffs submission of this October 7, 2013 letter resulted in the BPD taking
      retaliatory action againstPlaintiff includingbut not limitedto, removinghim from his
      active duty status, issuing an immediate unlawful suspension of his License to Carry,
      deeming him to be an unsuitable person to carry a firearm, and unlawfully seizing Ws
      personal weapons from his residence.

  101. Plaintiff was returned to active duty status and his Licenseto Carry was returned to him
      four dayslater duringa meeting willi then ChiefDaniel Linskey who acknowledged that
      he and Commissioner Ed Davis had ordered the above describ^ action because of the
      letter.
                                               10
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 16 of 87




  102. During the meeting, Plaintiffs attorney Alan Shapiro communicated to ChiefLinskey
      that he was aware of a pattern of dishonest conduct by Attorney Taub and that she had
      been untruthful in other BPD matters in addition to this one.

  103. Afterhearingthis. Chief Linskey then offeredto reducePlaintiffs original suspension
      in exchange for a plea to a lesser offense, but his offer was rejected by the Plaintiff.

2014 COMPLAINT TO THE IAD AND SUBSEQUENT RETALIATION

  104. Fearing further retaliation. Plaintiff submitted another complaint letter to the BPD; this
      time it was to Internal AffairsDivision Investigator SergeantDetective John Puglia, who
      was part ofthe newly appointed administration of Commissioner William Evans.

  105. Plaintiffs complaint letter, dated May 19, 2014 and entitled "Untruthful Statements
      Made by Presenting Lawyers During Arbitration," referenced false statements made by
      Attorney Taub to the Arbitrator which violated the BPD's own Public Integrity and
      Truthfulness Policies.

  106. After Plaintiff submittedthis letter, the BPD retaliated and took negative personnel
      action against him.

  107. Plaintiff tried to pursue his complaint through the Internal Affairs Division in
       accordance with BPD rules and procedures.

  108. When the Internal Affairs Division would not follow BPD rules and procedures in
       respondingto his complaint, and Plaintiff questioned their actions in this regard, he was
       ordered by Internal Affairs Supervisor Lieutenant Detective Christopher Hamilton not
       to contact the Internal Affairs Division.

  109. Recognizing the severity of such an order, Plaintiff sought assistance from the BPD
       Anti-Corruption Division, where he met with Lieutenant Detective Brian McEachem
       and Sergeant Detective Courtney Matthews.

  110. Although Lt. Det. McEachem promised Plaintiff that he would receive a response to his
       complaint, the matter was left lingering and Plaintiff received no response whatsoever.

  111. Efforts were made by union attorney Ken Anderson to pursue the complaint against
       Staff Attomey Nicole Taub, but there was still no response.

  112. BPD continued to pressure Plaintiff to abandon his complaint.

  113. Plaintiff had a second meeting with the Internal Affairs Division on Febmary 15,2016,
       when he met with Internal Affairs Investigators Lieutenant Detective Fred Williams
       and Lieutenant Detective Adrian Troy. The meeting was hostile and isolating and
       Plaintiff was treated as the target of the inquiry and told he could only meet with the
                                              11
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 17 of 87



       IAD if represented by counsel, and still no complaint was ever filed.

  114. Plaintiff suffered more retaliation when he was denied a promotion to Detective by
       Commissioner William Evans, as a result of the untruthful determination.

  115. Commissioner Evans also retaliated against Plaintiff by advising him (through his then
       Commander Captain Haseeb Hosein) that he needed to undergo a psychological
       evaluation in order to be considered for the role. There was no justification for said
       evaluation as the Plaintiff was already deemed fit for active duty and other similarly
       situated candidates were not advised to undergo such an unjustified testing for
       consideration to be promoted to Detective.

  116. The BPD intentionally requested the psychological evaluation in order to create a
       question about Plaintiffs mental fitness without justification as a way of making it
       more difficult for him to achieve the promotion he desired and deterring him from
       further pursuing his complaints regarding Attorney Taub's actions.

  117. To date, neither the BPD Internal Affairs Division nor the nor the Anti-Corruption
       Division have investigated Plaintiffs complaint against Attorney Taub or the treatment
       the Plaintiff has received in bringing a complaint against her as a fellow BPD
       employee.

  118. The BPD did not assign a Complaint Control Number to Plaintiffs May 19, 2014
       complaint against Attorney Taub.

  119. The BPD is required by its own rules, policies and procedures to assign a Complaint
       Control Number and investigate ALL complaints that it receives regarding conduct by
       Department personnel.

  120. The BPD rejected Plaintiffs request for information regarding his complaint and the
       status of any investigation, advising the Plaintiff that the matter was turned over to the
       legal department (headed by Amy Ambrick, Esq.) where Attorney Taub worked at the
       time.


  121. The BPD violated its own Rules and Procedures including but not limited to Rule 109
       when it failed to investigate Plaintiffs complaint about Attorney Taub and her
       dishonest acts.


INTERNAL AFFAIRS REPORT DISCOVERED


  122. As the investigator of the October 19, 2005 off-duty shooting. Sergeant Chinetti had
       prepared a report dated February 6, 2006 which included his findings from the January
       18, 2006 IAD interview of Plaintiff. A redacted version of his report is attached as
       Exhibit A.


  123. Attorney Taub was in possession of the IAD report at the time of the March 2009
                                               12
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 18 of 87



       departmental disciplinary hearing and the 2012/2013 arbitration.

  124. The redacted IAD report shows conclusively that Taub lied to Arbitrator Ryan, causing
       him to rule against Plaintiff.

  125. The redacted IAD report shows Plaintiff could not have been untruthful in the way the
       Arbitrator found him to be; it directly refutes the factual finding upon which the
       Arbitrator's Decision and Award is based.

  126. The redacted IAD report shows Plaintiff told Sergeant Chinetti during the interview
       that union representatives had instructed him to invoke his Miranda rights and not to
       provide the shooter's name, which is why he did not provide it. See Exhibit A, pp. 2-3.

  127. The redacted IAD report shows that Plaintifftold Sergeant Chinetti he did NOT inform
       Superintendent Johnson or Lieutenant Cullity that Officer Lee was the one who
       discharged the firearm on October 19,2005.

  128. The redacted IAD report shows that Plaintiff did not attempt to make Sergeant Chinetti
       believe that he had informed Superintendent Johnson or Lieutenant Cullity that Officer
       Lee was the shooter.


  129. The redacted IAD report refutes the critical findings in Arbitrator Ryan's Mav 24. 2013
       Arbitration Decision and Award and shows it must be disregarded.

  130. Plaintiff became aware of the existence of the IAD report in late 2017 when he was
       given the redacted copy in connection with a federal criminal trial in which he testified
       for the prosecution.

  131. The redacted IAD report was contained in Plaintiffs personnel record provided by the
       BPD to the prosecutor in response to a request for said record from the Defendant's
       attorney in that proceeding, a request prompted by the prosecution's disclosure of the
       untruthfulness determination pursuant to Brady v. Maryland and Giglio v. U.S.

  132. If the IAD Report had been provided to the Arbitrator (as required by law and under the
       BPD's Rules and Procedures), the Arbitrator would have reached the opposite
       conclusion and ruled in Plaintiffs favor.

  133. Plaintiff would have appealed the May 24, 2013 Arbitrator's Decision and Award if he
       had been aware ofthe content of Sgt. Chinetti's IAD Report.

PLAINTIFF'S 2018 REQUEST FOR REMOVAL OF UNTRUTHFULNESS
DETERMINATION AND NOTICE OF FRAUD ON THE ARBITRATOR

  134. Plaintiff sent a letter to the BPD on March 22, 2018 requesting removal of the
       untruthfulness determination from his file based on the IAD Report he had recently
       acquired and the exculpatory information it contained.
                                              13
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 19 of 87




135. On April 3, 2018 the BPD acknowledged receipt of Plaintiffs March 22, 2018 letter but
     there has been no substantive response or action taken.

136. Plaintiffs March 22, 2018 letter explained to the BPD how the Arbitration Decision
     and Award was based on false accusations by SuperintendentFong and Attorney Taub
     that directly contradict the IAD Report that was improperly withheld from evidence.

137. As Plaintiff described in the letter. Attorney Taub intentionally misrepresented the
     content of the IAD Report to Aibitrator Ryan.

138. Attorney Taub testified in the arbitration that Sergeant Chinetti found that Plaintiff was
     not truthful during the IAD interview because Plaintiff falsely told him that he had
     advised Superintendent Johnson and Lieutenant Cullity that Officer Lee was the
     shooter.



139. Taub's statement is reflected on page 7 of her post-hearing brief.


140. Attorney Taub's statement to the arbitrator is clearlv false because the IAD Report
     directlv refutes it: the Report specificallv savs Plaintiff told Sergeant Chinetti he had
     not provided the name of the shooter to Superintendent Johnson or Lieutenant Cullitv.

141. Attorney Taub's statements constitute factual testimony not legal argument.

142. If Arbitrator Ryan had been given a copy of the IAD Report, he would have recognized
     that Attorney Taub was lying.

143. Arbitrator Rvan specifically relied on Attomev Taub's characterization of
     Sergeant Chinetti's findings in reaching his decision, which is reflected in his
     Arbitration Decision and Award including page 31 of same.

144. Attorney Taub made other statements of fact about Plaintiff to the Arbitrator that were
     false and directly contradicted by the BPD's own internal documentation.

145. Attorney Taub accused Plaintiff offailing to provide Lieutenant Cullity with the
     location of the shooting, but BPD internal records show that Plaintiff did provide this
     information to Lieutenant Cullity, enabling units to respond to the incident scene.

146. Attorney Taub's intentional misrepresentation of the facts to the arbitrator influenced
     the aibitrator by making him think Plaintiff was untruthful.

147. In connection with the arbitration. Attorney Taub withheld audiotapes evidencing
     Plaintiffs truthfulness.



                                            14
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 20 of 87



  148. Attorney Taub failed to follow BPD protocol withregard to producing audiotapes
       relatedto the reporting of the October 19, 2005 shootingincident.

  149. TheBPD's audiotapes would have contained the time of reporting of the October 19,
       2005 incident and the time of dispatch.

  150. These tapes would have supported Plaintiffs truthfulness and consistent rendition of the
       events.


  151. In connection with the arbitration, Attorney Taub withheld certain CAD sheets
       evidencing Plaintiffs truthfulness.

  152. The CAD sheets would have established that two police unitshad already responded to
       the shooting scene based on Plaintiffs reporting of the incident.

  153. Attorney Taub recklessly disregarded her duty underthe BPD public integrity policy
       and falsified evidence, as shedistorted material evidence andImowingly failed to bring
       forth evidence that a reasonable person in her position would conclude might have an
       impact on the outcome of a matterand which prudence andjustice dictates should be
       brought to the attention of a magistrate, officerof the court or hearing officer.

  154. The BPD was notified of Attorney Taub's conduct in Plaintiffs March 22, 2018 letter
       but has failed to respond, or remove the untruthfulness determination from Plaintiff's
       personnel file, or otherwise remedy the situation.

  155. Attorneys Lenny Kesten and Judy Levenson claimed to havebeenretained by BPD to
       investigate the matters raised in the March 22, 2018 letterbut no genuine investigation
       occurred and they simply rubber stamped the arbitrator's decision.

  156. On January 2, 2019, Attorney Levenson represented that she and Attorney Kesten were
       providing Commissioner Gross's Officewith a report of their findings on or about
       January 7, 2019, but Plaintiffwas neveradvisedby the BPD of any suchfindings.

  157. In the months following submission of the March 22, 2018 letter alleging improper
       conductby Attorney Taub, she separatedfrom employment with the BPD.

  158. Upon information and belief. Attorney Taub's unlawful conduct as described herein
       was a factor leading to her separation.

BPD CONTINUES TO WITHHOLD THE REPORT

  159. Plaintiff made multiple requests to the BPD and the City ofBoston for an unredacted
       copy of the IAD Report but it was not produced.

  160. On September 24, 2018, Plaintiff submitted a public record request to the BPD,
       requesting the complete IAD file for IAD CaseNumber 240-05, including a complete
                                             15
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 21 of 87



     and unredacted copy of the February 6, 2006 IAD investigation report.

161. The BPD responded by providing various documents from the IAD file but not the
     February 6, 2006 report, claiming that it did not have a duty to produce it.

162. On September 26, 2018 Plaintiff submitted a request for a copy of his personnel record,
     includinga copy of the February 6,2006 IAD investigation report, since the
     investigator's findings were used as a basis for pursuingnegative personnel action
     against him.

163. The BPD responded by providingvarious personnel records but not the IAD report.

164. Plaintiff challenged the denial of access to the report by submitting an appeal to the
     Secretary of the Commonwealth, Public Records Division on December 23, 2018,
     citing various legal bases supporting the Department's obligation to produce the report.

165. On January 19, 2019, Rebecca Murray, Supervisor of Records for the Commonwealth
     of Massachusetts Public Records Division, issued an Order requiring the BPD to
     produce the February 6, 2006 IAD Report to Plaintiffs attorney within ten days, and
     finding that the BPD had failed to meet its burden to explain how an exemption applied
     to the record. See SPR 18/2094 sent to Shawn A. Williams, Esq., Director of Public
     Records for the City of Boston, attached hereto as Exhibit B.

166. Attorney Williams is the former Supervisor of Records for the Secretary of the
     Commonwealth Public Records Division and therefore is well aware of the
     requirements for responding to public record requests.

167. Attorney Williams, the BPD, and the City of Boston have failed to comply with the
     January 9, 2019 Order from the Supervisor of Records and have knowingly disregarded
     their obligations under the law.

168. Plaintiff submitted yet another request to the BPD and the City of Boston through
     Attorney Williams, reminding him that Defendant was continuing to be in violation of
     the January 9, 2019 Order and reiterating the request for production of the document,
     but it has still not been produced. \

169. The actions by the BPD and its personnel in initiating and prosecuting a frivolous
     complaint against Plaintiff, including but not limited to actions by Superintendent Fong
     and Attorney Taub, and actions by other Department personnel to cover up, condone,
     and fail to rectify their conduct, and retaliate against Plaintiff, have hurt Plaintiffs
     reputation and interfered with his ability to be an effective police officer and detective.


170. Removing the untruthfulness determination from Plaintiffs file is required under BPD
     rules and procedures because it is inconsistent with Sergeant Chinetti's IAD Report.

                                             16
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 22 of 87



REPUTAUONAL HARM AND LOST PROMOTIONAL OPPORTUNITIES

  171. Plaintiff hasbeen hyper-scrutinized by BPD personnel because they perceive him as
        dishonest based on the untruthfulness determination that was reached.

  172. Plaintiffs professional and personal reputation inthe community has been irreparably
        damaged as a result of this untruthfulness determination.

  173. Having the untruthfulness determination in Plaintiffs record has and will continue to
        permanently impact his opportunities for promotion within theBPD and employment
       opportunities with other agencies for the remainder of his career in law enforcement.

  174. Credibility and truthfulness are essential functions ofPlaintiffsjob as a police officer,
       especially when testifying as a witness for the prosecution in criminal court
       proceedings.

  175. Having the untruthfulness determination in his file means Plaintiff is permanently
       labeled as someone who cannot be trusted to tell the truth.

  176. Having the untruthfulness determination in his file means that whenever Plaintiff is
       called upon to testify for the prosecution in a federal criminal trial, the untruthfulness
       determination has to beprovided by the prosecutor to the Defendant's attorney in
       connection with 2i Brady/Giglio request, meaning that Plaintiffs credibility is impaired,
       thus impairing the prosecutor'sability to secure a conviction.

  177. The BPD knows that this untruthfulness determination is based onfalse testimony and
       withholding of evidence by Attorney Nicole Taub, so it must not allow this
       determination to be introduced in any such criminal proceeding.

  178. Failure to remove the untruthfulness determination will cause further irreparable harm
       to the criminal Justice system and the victims it is designed to protect.

  179. On multiple occasions since serving his suspension in 2009, Plaintiff has taken the BPD
       promotional exam seeking promotion to sergeant but has not been successful in
       receiving this promotion.


  180. Priorto his suspension in 2009, Plaintiffwas enrolled in college courses and in the
       process of pursuing his bachelor'sdegree, with a goal of completing this and
       subsequently completing his master's, so that he could increase his compensation and
       advance into a supervisory role within the BPD.


  181. At or around the time of his suspension in 2009, Plaintiff was forced to withdraw from
       hiscourses and bachelor's degree program because he was unable to perform the
       necessary coursework due to the treatment he was facing at work.
                                              17
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 23 of 87



  182. Plaintiffs inability to complete his bachelor's degree and failure to achieve a promotion
        to sergeant are directly attributable to Defendant's unlawful conduct and Plaintiffs
        anxiety and emotional distress caused by this conduct.

  183. Had Plaintiffcompleted his bachelor's degree and/or achieved the promotion to
        sergeant, he would have been receiving far greater compensation than he has been
       receiving asa patrol officer, and he would have had more advancement opportunities
       available to him within the BPD including promotion tolieutenant and captain.

  184. Plaintiff has been and continues to be deprived of compensation, educational
       opportunities, and career advancement opportunities, as a direct and proximate result of
       Defendants' actions described herein.


  185. Defendants' actions have caused and are continuing to cause Plaintiff tosuffer monetary
       losses, harm to his reputation, harm to his ability to perform his job as a police officer
       and his ability to participatein basic life activities, and harm to his emotional and
       physical health.

DECEMBER 18,2018 NOTICE AND REQUEST TO BPD

  186. The BPD has been notified multiple times by Plaintiff ofthe ethical and legal reasons it
       must remove the untruthfulness determination from his file, but the BPD has failed to
       take the necessary action.

  187. On December 18, 2018, Plaintiff submitted a letter to the BPD reiterating his request
       for removal ofthe untruthfulness determination from his file, noting the urgency of his
       request given that he had been called upon to testify for the prosecution in an upcoming
       federal criminal proceeding.

  188. Curiously, the proceeding never went forward as a pleabargain wasreached wherein
       the Defendant pleaded guilty to a far less serious charge.

  189. The pleabargain alleviated the need for Plaintiff to testify andthusalleviated the need
       for the untruthfulness issue to beaddressed for purposes ofthat court proceeding.
  190. Failure to remove the untruthfulness determination means Plaintiff will continue to be
       considered a ""Giglio impaired witness" in federal criminal proceedings in which he
       testifies.

  191. Byfailing to remove theuntruthfulness determination, theBPD is condoning dishonest
       and corrupt conduct by its agents and knowingly impairing Plaintiffs ability to serve as
       a credible witness for the prosecution andknowingly impeding the prosecution of
       criminals.


                                               18
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 24 of 87



  192. Plaintiff hasincurred significant attorney's fees attempting to have the untruthfulness
       determination removed and hisreputation restored within theDepartment and inthe
       community, andthe BPD's failure to take action as required by law andits own internal
       policies demonstrates an ongoing tolerance ofcorrupt activity and unlawful conduct by
       Department personnel at all levels.

CURRENT ASSIGNMENT

  193. On August 5, 2019 Plaintifflearned he is now assigned to workunder Lieutenant
       Detective Fred Williams.

  194. This assignment is problematic and creates a hostile work environment for Plaintiff
       because of Lt. Det. Williams' participation in negative actions against Plaintiff in the
       past.

  195. Lt. Det. Williams was the superior officer from the Internal Affairs Division who met
       with thePlaintiff regarding his complaints about Attorney Taub, and was a recipient of
       Plaintiffs May 19, 2014 Complaint, which herefused to accept or investigate.

  196. Lieutenant Detective Williams refused to speak with Plaintiff and hung upthe phone on
       him when he calledto inquire about the statusof his Complaint.

  197. Working under Lt. Det. Williams' supervision is causing Plaintiff to experience a high
       level of anxiety and is a constant reminder of the continuing retaliatory treatment he
       endures and the baseless untruthfulness determination that remains in his file.

                                  CLAIMS FOR REI.TEF


                                          COUNT Ii
                   42 U.S.C. S 1983 - VIOLATION OF CIVIL RIGHTS
                                    (As to all Defendants)

  198. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
       fully set forth herein.

  199. Defendants are "persons" under 42 U.S.C. §1983 who have acted "under the color of
       state of law" by using power they possess by virtueof state law and deprived Plaintiff
       of rights secured by the U.S. Constitution and federal statutes.

 200. Defendants' violations of 42 U.S.C. §1983 include but are notlimited to: failing to
      provide Plaintiffvwth notice the basisfor the accusation of untruthfulness against him,
      and changing the basis for the accusation without notice; interfering with Plaintiffs
      rights to be freefrom being labelled as a Giglio-impaired witness, and interfering with
       the prosecution's ability to prosecute federal criminal cases where Plaintiff is a
       government witness, negatively impacting victims' rights; refusing to process or
       investigate Plaintiffs complaints to the BPDabout Taub'suntruthful statements during
                                              19
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 25 of 87



     the arbitration and related issues; retaliating against Plaintiff for engaging in protected
     speech involving a matter of public concern and speaking out and exercising his rights
     to free speech and due process of law and rights against self-incrimination and
     incrimination of a fellow union member; questioning Plaintiffs mental fitness and
     requiring himto undergo an unjustified psychological evaluation as a retaliatory
     measure; depriving Plaintiffof his property rights and right to possess his own personal
     firearm andhis rightagainst unreasonable search and seizure; pursuing a groundless
     complaint against Plaintiffin February 2008 as a retaliatory measure in response to
     written demands from Plaintiff for the return of his persond firearm that had been
     unlawfully withheld; depriving Plaintiffof the IAD investigation reportthat would have
     exonerated him with regard to allegations against him for untruthfiilness.

201. In committing these violations of Constitutional and statutory rights. Defendants Gross,
     Evans, Davis, Taub, Fong and Williams were acting in their respective official
     capacities as agents of the BPD and the City of Boston, and their actions were carried
     out pursuantto an official policy and custom of the BPD and/orthe City of Boston.

202. It is an official policy andcustom of the BPDandthe City of Boston to retaliate against
     employees like Plaintiffwho complain aboutunlawful and dishonest actions by high-
     ranking BPD personnel, and to try and cover up said actions rather than correct them.

203. Defendants' actions pursuant to this official policy and custom have caused and will
     continue to cause Plaintiffto suffermonetary losses, harm to his professional and
     personal reputation, harm to his ability to perform his job as a police officer and his
     ability to participate in basic life activities, and harm to his emotional and physical
     health.

204. Accordingly, Plaintiff is entitled to recover damages from Defendants as a result of
     their immediately above-described unlawful conduct.

205. Plaintiff is entitled to recovery of his attorneys fees and costs from Defendants pursuant
     to applicable law including but not limited to the Civil Rights Attorneys Fee Awards
     Act of 1976, 42 U.S.C. §1988 [b].

206. Plaintiffis entitledto recovery of punitivedamages from Defendants under applicable
     law including but not limited to Smith v. Wade, 461 U.S. 30 (1983) and related case
     law, because Defendants' conduct was reckless and/or callously indifferent to the
     federally protected rights of others and/or Defendants were motivated by evil intent.

                                       COUNT n:
     42 U.S.C 8 1983 - AS REMEDY FOR VIOLATIONS OF 42 U.S.C. S 1981
                                  (As to all Defendants)

207. Plaintiff incorporates by reference the preceding paragraphsof his Complaint as though
     fully set forth herein.

                                            20
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 26 of 87



208. Under 42 U.S.C. § 1981(a), all persons within the jurisdiction of the United States shall
     have the same right in every State and Territory to make and enforce contracts, to sue,
     be parties, give evidence, and to the full and equal benefit of all laws and proceedings
     for the security of persons and property as is enjoyed by white citizens, and shall be
     subject to like punishment, pains, penalties, taxes, licenses, and exactions of every kind,
     and to no other.


209. Plaintiff is a person of color and a "person" within the meaning of 42 U.S.C. §1981(a).

210. Under 42 U.S.C. § 1981(b), "make and enforce contracts" includes the making,
     performance, modification, and termination of contracts, and the enjoyment of all
     benefits, privileges, terms, and conditions of the contractual relationship.

211. As described herein. Defendants have acted to impair and violate PlaintifTs rights and
     protections that are guaranteed to him under 42 U.S.C. §1981.

212. The impairment and violation of Plaintiffs rights in this regard resulted from a custom
     and/or policy maintained by Defendants within the meaning of 42 U.S.C. §1981 and as
     described in detail herein.


213. Said custom and/or policy has caused Plaintiff to be treated less favorably than white
     employees (including but not limited to Attorney Taub) with respect to various benefits,
     privileges, terms and conditions of employment, including but not limited to the
     disciplinary process, the handling of complaints against Department personnel,
     application of personnel policies and BPD Rules, the BPD public integrity policy, rules
     governing exculpatory evidence and falsification of evidence, and other aspects of the
     employment relationship with BPD.

214. The BPD and its agents named herein refused to accept or investigate Plaintiffs
     complaint about Attorney Taub's dishonest conduct and violation of the public integrity
     policy, and refused to assign it a Complaint Control Number as required under
     Department rules and policies, and as is the normal practice with all complaints against
     Department personnel.

215. The BPD and its agents named herein unfairly disciplined Plaintiff as a result of Taub's
     dishonest and fraudulent conduct and have taken no action to remedy the resulting harm
     suffered by Plaintiff upon learning Taub's conduct was dishonest and fraudulent.

216. Defendants' actions constitute intentional discrimination on the basis of race.

217. In committing the acts described herein. Defendants have acted under color of state law
     within the meaning of 42 U.S.C. §1981(c).

218. 42 U.S.C. §1981 is substantive and not remedial, and 42 U.S.C. §1983 provides the
     remedy for a plaintiff to pursue claims for damages against state governmental units for
     violation of rights guaranteed by § 1981.
                                            21
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 27 of 87



219. Defendants' actions have caused and will continue to cause Plaintiff to suffer monetary
     loss including but not limited to lost earnings, attomeys fees, and otherout-of-pocket
     expenses, as well as harm to his professional and personal reputation and opportunities
     for advancement, harm to his ability to perform hisjob as a police officer and hisability
     to participate in basic life activities, and have caused Plaintiffto experience emotional
     distress and harm to his mental and physical health.

220. Accordingly, Plaintiff is entitled to recov^ damages from Defendants under 42 U.S.C.
     §1983 as a result of their violations of 42 U.S.C. §1981 described herein.

221. Plaintiff is entitled to recover attomeys fees and costs from Defendants under
     applicable law.

222. Plaintiff is entitled to recovery of punitive damages from Defendants as Defendants'
     conduct was reckless and/or callously indifferent to the federally protected rights of
     others and/or Defendants were motivated by evil intent.

                                       COUNTm
         CONSPIRACY TO VIOLATE CIVIL RIGHTS - 42 U.S.C. S 1985
                                  (As to all Defendants)

223. Plaintiff incorporatesby reference the precedingparagraphs of his Complaint as though
     fully set forth herein.

224. Defendants are "persons" under 42 U.S.C. § 1985 who acted "under the color of state
     law" and were party to an agreement between two or more state actors who acted in
     concert and deprivedPlaintiff of his constitutional rights and federal statutory rights as
     described herein.

225. Defendants were acting in concert to commit one or more said unlawful acts and/or to
     commit one or more said lawful acts by unlawful means.

226. The actions of Defendants resulted in damages to Plaintiff as described herein.

227. These damages are a direct, proximate and foreseeable result of Defendants'
     conspiracy.

228. Plaintiff is entitled to recover damages from Defendants as a result of their above-
     described unlawful conduct, and is entitled to recover attomeys fees and costs from
     Defendants under applicable law.


229. Plaintiff is entitled to recovery of punitive damages from Defendants as Defendants'
     conduct was reckless and/or callously indifferent to the federally protected rights of
     others and/or Defendants were motivated by evil intent.


                                            22
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 28 of 87



                                      COUNT IV
                  UNFAIR LABOR PRACTICES - GX. 150E> S 10
                  (As to Boston Police Department and City of Boston)

230. Plaintiff incorporates by reference the preceding paragraphs of hisComplaint asthough
     fully set forth herein.

231. Plaintiff is an "employee" within the meaning of the Massachusetts collective
     bargaining law, G.L. c. 150E, § 10(a).

232. Defendant BPD is a "publicemployer" within the meaning of G.L. c. 150E, § 10(a).

233. Defendant City of Boston is a "publicemployer" within the meaning of G.L. c. 150E,
     § 10(a).

234. Defendant Taub is a "designated representative" within the meaning of G.L. c. 150E,
     § 10(a).

235. Defendant Fong is a "designatedrepresentative" within the meaning of G.L. c. 150E,
     § 10(a).

236. As described herein. Plaintiff received assistance and instruction from his union
     representativesin connection with the questioning and investigatory interviews on
     October 19,2005 at Faulkner Hospital, including an instruction to refrain from telling
     investigatory officers that it was Lee who shot Mencey.

237. During the January 18,2006 IAD investigation interview. Plaintiff told Sergeant
     Chinetti how he had received this instruction.

238. As described herein. Defendant BPD and the City of Boston retaliated against Plaintiff
     for exercising these rights he had as a union member.

239. Sergeant Chinetti's February 6, 2006 report reflects the foregoing information.

240. In 2008, more than two years after the October 19, 2005 shooting incident. Defendant
     Fong initiated a complaintagainst Plaintiff and falsely accused him of lying duringthe
     IAD interview, claiming that he told Sergeant Chinetti that he had informed the
     investigating officers that Officer Lee shot Officer Mencey.

241. Defendant Fong had a retaliatory motive and lacked a legitimate basis for the
     complaint.

242. Defendants have never provided Plaintiff with a copy of Sergeant Chinetti's IAD
     report.

243. Sergeant Chinetti's report contains exculpatory evidence showing that Plaintiff did not
                                           23
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 29 of 87



     make the statement Fong accuses him of making.

244. Defendants have engaged in prohibited practices under G.L. c. 150E, § 10 as described
     above.


245. Defendants pursued disciplinary action against Plaintiff in connection with a situation
     where he was exercising his ri^ts as a union member and following instructions from
     his union representative where, upon information and belief, the union representative
     was seeking to protect the rights of all union members involved.

246. Additionally, Defendants' conduct constitutes a prohibited practice under
     Massachusetts law including G.L. c. 150E, § 10 because, under the circumstances,
     PlaintifTs statements during the IAD interview cannot be used against him as a basis
     for discipline.

247. Plaintiff has suffered and is continuing to suffer economic and non-economic damages
     as a direct, proximate and foreseeable result of Defendants' conduct, and has the right to
     recover these damages from Defendants, including attorneys fees, costs and punitive
     damages.

                                        COUNT V
                       WfflSTLEBLOWER LAW - G.L. c. 149> S185
                 (Against Boston Police Department and City ofBoston)

248. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

249. Plaintiff is an "employee" as defined in G.L. c. 149, §185(1).

250. Defendant BPD is an "employer" as defined in G.L. c. 149, §185(2).

251. Defendant City of Boston is an "employer" as defined in G.L. c. 149, §185(2).

252. Defendants BPD and City of Boston have taken retaliatory action against Plaintiff as
     described herein, in response to Plaintiff objecting to and complaining about unlawful
     and unethical conduct by Defendants including but not limited to conduct by Defendant
     Taub which Plaintiffbelieved posed a risk to the public's well-being.

253. Plaintiff has suffered economic and non-economic harm as a result of Defendants'
     violation of this law.

254. Plaintiff lacks an adequate remedy at law and is entitled to equitable relief including but
     not limited to a temporary restraining order and/or injunction, restraining the
     Defendants from continuing to violate this law, as provided in G.L. c. 149, §185(d).

255. Plaintiff is entitled to immediate removal of the untruthfulness determination from his
                                             24
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 30 of 87



     file, compensation for three times the amount of lost wages resulting from the
     retaliatory suspension, delayed promotion and other lost compensation plus interest
     thereon, reasonably anticipated future lost earnings, plus attorney's fees and costs,
     including but not limited to the attorneys' fees and costs incurred in notifying
     Defendants of the unlawful and unethical practice and affording Defendants multiple
     opportunities to correct the activity as a way of avoiding this lawsuit.

                                     COUNTY VI
                 VIOLATION OF PERSONNEL RECORD LAW -
                                   GX. c. 149. S52C
                  (As to Boston Police Department and City of Boston)

256. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

257. Defendants BPD and City of Boston have violated the Massachusetts Personnel Record
     Law by failing to provide Plaintiff with a copy of the February 6, 2006 IAD
     investigation report prepared by William Chinetti in IAD case no. 204-05.

258. Plaintiff was entitled to receive the IAD report no later than February 2008 when
     Superintendent Fong filed a Complaint against Plaintiff alleging that he was untruthful
     during the IAD interview.

259. The findings and conclusions of Sergeant Chinetti contained in the February 6, 2006
     IAD report directly relate to Fong's Complaint and the disciplinary action that was
     subsequently taken by Defendants against Plaintiff as a result of this Complaint.

260. The February 6, 2006 report actually refutes Superintendent's Fong's Februaiy 20, 2008
     complaint against Plaintiff.

261. The February 6, 2006 report also refutes Taub's statements to the Arbitrator about what
     Plaintiff told Sergeant Chinetti during the interview.

262. Defendants BPD and City of Boston have continued to unlawfully withhold the
     unredacted February 6, 2006 report as an ongoing violation of the Massachusetts
     Personnel Record Law.


263. To date Defendants have failed to produce the unredacted report to Plaintiff despite
     multiple requests.

264. The untruthfulness determination remains in Plaintiffs personnel record, yet the
     Defendants continue to withhold the report upon which this false accusation is based.

265. Defendants BPD and the City of Boston have violated the Massachusetts Personnel
     Record Law by refusing to remove the untruthfulness determination from Plaintiflfs
     record.
                                           25
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 31 of 87




266. Plaintiff is also entitled to recover penalties against Defendants for knowing disregard
     of its obligation and misrepresenting to the Supervisor of Records for the
     Massachusetts Secretary of State's Office thatPlaintiff had a unique right of access to
     this document as a way of trying to avoid production of the document under the
     Massachusetts Public Records law G.L. c. 66, §10.

267. Plaintiff submitted a request to the BPD for expungement pursuant to G.L. c. 149, §52C
     on March 22,2018, seeking removal ofthe untruthfulness determination from
     Plaintiffs persormel file on grounds that the untruthfulness determination was based on
     anarbitration decision thatdirectly conflicts with Defendants' own internal records (the
     IAD report), and it is based on an arbitration decision that resulted from fraudulent
     misrepresentations of fact by a BPD employee.

268. The March 22, 2018 request to BPD was prompted by Plaintiffs receipt of the heavily
     redacted version of the IAD investigation report after it was provided to him by a third
     party in connection with a federal criminal trial in which he wastestifying as a
     prosecution wimess.

269. The BPD acknowledged receipt of the March 22,2018 request by way of a letter on
     April 3,2018 and stated that the requestwas being reviewed, but to date has failed to
     respond substantively and failed to remove the untruthfulness determination.

270. Plaintiff submitted another request for removal of the untruthfulness determination on
     December 18, 2018, as promptedby concern that the presenceof this untruthfulness
     determination in his file would impair the prosecutor's ability to secure a conviction in
     an upcoming federal trial, as Plaintiffwould be considered a Giglio impaired wimess.

271. Defendants did not respond to Plaintiffs December 18, 2018 request and did not
     remove the untruthfulness determination.

272. Defendants were obligated under the Personnel Record Law to remove the
     untruthfulness determination because it has an obligation to make corrections to an
     employee's persormel record when false information in the record comes to its
     attention.

273. By failing to make this correction to Plaintiffs personnel record. Defendants are
     allowing the continuation of a dishonest and corrupt action and condoning saidconduct.

274. It is clearfrom the redacted version of the IADreport thatthe Arbitrator's finding of
     untruthfulness can no longerbe relied upon as valid, and the personnel recordmust be
     corrected, as required under the Personnel Record Law.

275. Plaintiff has suffered and is continuing to suffer economic and non-economic harm as a
     result of Defendants' unlawful conduct and is entitled to an award of monetary
     damages.
                                           26
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 32 of 87



276. Plaintiff is also entitled to equitable reliefincluding but notlimited to production of an
     unredacted copy of the report to Plaintiff, permanent removal of the untruthfulness
      determination from Plaintiffs personnel record, attorney's fees dating back to 2008
      when the record should have been produced by law.

277. Plaintiff lacks an adequate remedy at lawand is entitled to equitable reliefand recovery
      of money damages from Defendants as a result of these violations.

                                       COUNT vn
 VIOLATION OF MASSACHUSETTS PUBUC RECORDS LAW GX. c. 66, S 10
(Asto Boston Police Department, the Cityof Boston, Shawn Williams andWilliam Gross)

278. Plaintiffincorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

279. The Massachusetts Public Records Law ("MPRL") strongly favors disclosureby
     creating a presumption that all government records are public records, and the burden is
     on the Defendant to prove by a preponderance of the evidence that an exemption
     applies allowing withholding of any portion of the record.

280. Plaintiff made a public record request to Defendants City of Boston and BPD on
     September 24, 2018.

281. Attorney Shawn Williams is the Director ofPublic Records and Records Access
     Officer for the City of Boston and its agencies including the BPD.

282. Under the MPRL, Defendants BPD, William Gross as Commissioner, the City of
     Boston, and Shawn Williams, are custodians of the public record Plaintiff seeks, as per
     the admission to this fact in a September 27, 2018 correspondence.

283. Defendants BPD, Commissioner Gross, the City of Boston, and Shawn Williams were
     required to provide Plaintiff with an unredacted copy of Sergeant Chinetti's February 6,
     2006 IAD investigation report in response to Plaintiffs September24, 2018 public
     record request.

284. These Defendants violated the MPRL by failing to provide the record within 10days
     and failing to demonstrate the application of any exemption.

285. These Defendants are continuing to withhold the record without having demonstrated
     the application of any exemption under the MPRL, in violation ofthe January 9, 2019
     Order from the Supervisor of Records for the Secretary ofthe Commonwealth.

286. Defendants have continued to ignore subsequent requests for the record from Plaintiff
     dated April 26, 2019 and June 21, 2019 requesting compliance with the January 9,
     2019 Order and attempting to obtain the record without the need for a lawsuit.

                                            27
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 33 of 87



287. Plaintiffs record requests and the January 9, 2019 Order were received by Defendant
     Shawn Williams, who is or shouldbe aware of theMPRL requirements and
     Defendants' obligation to produce the record, as he previously served as Supervisor of
     Records for the Commonwealth of Massachusetts.

288. Under G.L. c.66, §64, Shawn Williams has obligations as Records Access Officer to
  , coordinatethe responsefrom the BPD and the City of Boston and produce the
     requested report in a timely manner, which he failed to do here.

289. Attorney Williams' actions are part of a patternand policy and overall practice by
     Defendants BPD and City of Boston of deliberately ignoring their obligations under the
     law for the purpose of hiding the truth and creating hurdles for the Plaintiffin seeking
     removal ofthe untruthfulness determination and clearing his name.

290. The Supervisorof Records for the Commonwealth of Massachusetts specifically found
     in her January 9, 2019 Order that Defendantsfailed to demonstrate the application of
     any exemption to the MPRL that would justify withholding of the February 6, 2006
     IAD investigation report.

291. Defendants did not appeal the January 9, 2019Order so it is final and binding on
     Defendants.

292. Plaintiff is entitled to recovery of his attorney's fees under the MPRL, includingbut not
     limited to fees related to preparation of the March 22, 2018 letter to Defendants in
     which said record was requested initially, and all subsequent work leading up to and
     including the filing of this lawsuit, as the record has still not been produced.

293. Defendants denied access to the report based on an allegation that Plaintiff had a
     "unique right of access" to the record; however the Supervisor of Records for the
     Commonwealth of Massachusetts rejected this argument, given that Plaintiff and his
     current and former counsel have all been denied access to the report since 2006.

294. Defendants also denied Plaintiff access to the report on grounds that it falls within
     exemption (f) pertaining to investigatory materials, but the Supervisor of Records for
     the Commonwealth of Massachusetts rejected this argument, since Defendants could
     not show how disclosure of the report would reveal confidential investigative
     techniques that are unique to the BPD or how disclosure would prejudice the possibility
     of effective law enforcement.

295. The Supervisor of Records recognizes that statutory exemptions are narrowly construed
     and are not blanket in nature.


296. Defendants' unlawful actions have caused Plaintiff to suffer economic and
     noneconomic harm and Plaintiff is entitled to recovery of these damages from
     Defendants.


                                            28
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 34 of 87



297. There is a presumption in favor of awarding Plaintiff his attorney's fees and costs under
     theMPRL.


298. Punitive damages should be assessed against Defendants under the facts of this case, as
     they did not act in good faith as per G.L. c. 66, § lOA(d).

299. Plaintiff is entitled to an expedited ruling on this claim under G.L. c. 66, § 10A(d)(l).

                                       COUNT vm
                               DECLARATORY JUDGMENT
                  (As to Boston Police Department and City of Boston)

300. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

301. There is an actual controversy between Plaintiff and Defendants regarding the
     production of requested records, particularly the February 6, 2006 IAD report described
     herein.


302. Pursuant to G.L. c. 231A and the Massachusetts Public Records Law, Plaintiff is
     entitled to a declaration that the record he has requested is a public record within the
     meaning of G.L. c. 66, § 10 and the release of this record to him (unredacted as to all
     information pertaining to him) is required by law and the Defendants have no right to
      withhold such record.

303. In the alternative, pursuant to G.L. c. 231A and the Massachusetts Personnel Record
     Law, Plaintiff is entitled to a declaration that the record he has requested is a personnel
     record within the meaning of G.L. c. 149, § 52C and that Defendants are required by
     law to produce a copy of same to Plaintiff since information in said record formed the
     basis for Defendant BPD taking disciplinary action against Plaintiff, including unpaid
     suspension and placing an untruthfulness determination in his personnel file
     permanently.

304. Plaintiff is entitled to recovery of his attorneys fees dating back to at least 2008 when
     Defendants were required to provide him with a copy of the record.

                                        COUNT IX
                           REQUEST FOR EXPUNGEMENT
                                    G.L. c> 149> 8 52C
                   (As to Boston Police Department and City of Boston)

305. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

306. Under the Personnel Record Law, G.L. c. 149, § 52C, an employee has the right to
     correction of false information that appears in his personnel record and expungement of
                                             29
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 35 of 87



     documents in his file containing false material.

307. Under this statute, the employer is obligated to make the correction and remove the
     document(s) immediately upon receiving notice of the false information.

308. Plaintiff is an "employee" within the meaning ofthis statute.

309. Defendant BPD is an "employer" within the meaning of this statute.

310. Defendant City of Boston is an "employer" within the meaning of this statute.
     Defendants are in possession of a document (the February 6, 2006 IAD report) that
     directly refutes the untruthfiilness determination in PlaintifTs personnel record.

311. Defendants are aware that the untruthfulness determination is based on false
     information.

312. At the time Defendants placed the February 6, 2006 report in Plaintiffs personnel
     record, they knew or should have known it contained false information.

313. Defendants' failure to remove the untruthfulness determination violates the
     Massachusetts Personnel Record Law and other Massachusetts and federal laws as
      described herein.

314. Defendants' failure to remove the untruthfulness determination also violates the BPD's
     own rules and policies as described herein, including but not limited to its public
     integrity policy.

315. Failure by the Defendants to remove the untruthfulness determination will also cause
     harm to third parties and cause interference with the federal criminal justice system, as
     Plaintiff will be considered a "Giglio impaired witness" based on a meritless
     untruthfulness determination, thus impairing the prosecutor's ability to secure
     convictions in said proceedings.

316. Under G.L. c. 149, § 52C, Plaintiff is entitled to issuance of an Order from this
     honorable Court, requiring that Defendants permanently remove the untruthfulness
     determination from his personnel record.


317. Plaintiff lacks an adequate remedy at law.

318. Plaintiff has suffered and will continue to suffer economic and noneconomic damages
     as a result of Defendants' refusal to remove the record.

319. In addition to removal of the untruthfulness determination. Plaintiff is entitled to
     recovery of these damages, including attorney's fees in seeking removal.


                                             30
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 36 of 87



                                        COUNTX
                                 INJUNCXrVE RELIEF
                   (As to Boston Police Department and City of Boston)

320. Plaintiff incorporates by referencethe precedingparagraphs of his Complaintas though
     fully set forth herein.

321. As explained herein, Defendants have refused to remove the untruthfulness
     determination from Plaintiffs personnel record and have refused to produce an
     unredacted copy of the February 6, 2006 LAD investigative report despite being legally
     obligated to take these actions and despite being requested to do so multiple times by
     Plaintiff.

322. Plaintiff is continuing to suffer irreparable harm as a result of Defendants' refusal to
     remove the untruthfulness determination from his record. This includes but is not
     limited to harm to his reputation, ability to perform his job, opportunities for
     advancement, psychological harm, and harm to his ability to participate in basic life
     activities.

323. Plaintiff lacks an adequate remedy at law.

324. In light of the foregoing and the irreparable harm to Plaintiff, it is necessary that the
     Court grant Plaintiff injunctive relief including ordering Defendant to remove the
     untruthfulness determination permanently from Plaintiffs file; ordering Defendants to
     provide Plaintiff with an unredacted copy ofthe IAD report; and ordering Defendants
     to circulate throughout the BPD a notice indicating Plaintiff has been cleared regarding
     this previous untruthfulness finding.

325. Plaintiff is entitled to recovery of his attorneys fees from Defendants for all legal
     services performed in seeking removal of this baseless untruthfulness determination.

                                        COUNT XI
                                 CIVIL CONVERSION
                   (As to Boston Police Department and City of Boston)

326. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
     fiilly set forth herein.

327. Defendant BPD has acted in violation of Massachusetts common law by engaging in
     civil conversion when it retained possession of Plaintiffs personal firearm without
     Plaintiffs permission and without a legal basis to do so.

328. Defendant's initial reason for taking possession of Plaintiffs personal firearm in
     connection with the October 2005 incident did not justify its continued possession for
     an extended period of time of approximately four years.

                                             31
   Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 37 of 87



329. Defendant continued to possess the firearm without Plaintiffspermission andwithout
     legal justification despite written demand from Plaintiff and hisformer attorney to
     return the firearm.

330. PlaintiiBf has suffered economic and non-economic damages as a result of Defendants'
     unlawful conduct and is entitled to recover same from Defendants.

                                      COUNT xn
                                        FRAUD
                                 (As to the Defendants)

331. Plaintiffincorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

332. As more fully described herein, Attorney Nicole Taub intended to defraud Plaintiff and
     intended to defraud Arbitrator Ryan into ruling against Plaintiff in connection with the
     2012-2013 arbitration.

333. Attorney Taub intentionally and knowingly made material misrepresentations of fact to
     Arbitrator Michael Ryan and intentionally and knowingly withheld from evidence the
     documentation refuting her testimony and refuting the untruthfulness accusation against
     Plaintiff, evidencewhich Plaintiff discovered only after the redacted February 6,2006
     report was given to him by a third party in late 2017.

334. Attorney Taub represented to Arbitrator Ryan that Plaintiff had been untruthful during
     the IAD interview in that he told the IAD investigator that he had provided
     Superintendent Johnson and Lieutenant Cullity with the name of the shooter in the
     October 19,2005 incident.

335. This was a false statement of fact because Plaintiff did NOT tell the IAD investigator
     that he had provided Superintendent Johnson and Lieutenant Cullity with the name of
     the shooter in the October 19, 2005 incident; to the contrary. Plaintiff told the IAD
     investigator that he had NOT informed these officers of this particular information. See
     IAD report. Exhibit A, Pages 2-3.

336. Plaintiff told the LAD investigator that his union representative had instructed him NOT
     to provide this detail and that the union attorney had instructed him to invoke his
     Miranda Rights so he complied. See Exhibit A, Pages 2-3.

337. Attorney Taub purposely withheld the IAD investigation report and knowingly
     misrepresented the content of the report and findings of the IAD investigator, knowing
     that her statements to the arbitrator about this were false, and intending to have the
     arbitrator rely upon her statement in reaching the conclusion that Plaintiff had been
     untruthful.

338. Attorney Taub knew that by withholding the IAD report from the arbitrator and from
                                           32
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 38 of 87



     Plaintiffand his attorney, the arbitrator would have no way of knowing that shewas
     lying.

339. Given that Attorney Taub had an ethical duty to be truthful underthe professional rules
     of conduct governing attorneys and underthe BPD's publicintegrity policy, the
     arbitrator's reliance upon her statements was reasonable.

340. The arbitrator was defrauded into ruling against Plaintiffat the arbitration by Attorney
     Taub's false statements of fact.

341. Arbitrator Ryan found that there had been just cause for Plaintiffs 2009 suspension for
     violating Rule 102, §23 (truthfulness) based on the finding that Plaintiff had been
     untruthful during the January 18, 2006 IAD investigation interview when he told the
     interviewer that he had provided the investigating officers with the identity of the
     shooter on the night of the October 19, 2005 incident.

342. It was Attorney Taub's fraudulent misrepresentations of fact that led Arbitrator Ryan to
     uphold the suspension and find that Plaintiff had been untruthful; the arbitration
     decision, including page 31 of said decision, says the arbitrator specifically relied upon
     her characterization of Sergeant Chinetti's findings.

343. It was only after Plaintiff had received a redacted version of the report in late 2017 that
     there was conclusive proof that Attorney Taub had misrepresented Sgt. Chinetti's
     findings.

344. Attorney Taub's testimony about this key fact determined the outcome of the
     arbitration.

345. If the arbitrator had been presented with a copy of the IAD Report as opposed to false
     statements from Attorney Taub about what the Report stated, he would have ruled in
     Plaintiffs favor.

346. As described herein. Attorney Taub made other false statements of fact and
     mischaracterized other evidence during the arbitration, which impacted the result
     because it caused the arbitrator to have a negative impression of Plaintiffs overall
     credibility.

347. Attorney Taub cherry-picked certain portions of the IAD interview transcript and left
     out other critical statements as a way of making Plaintiff appear untruthful.

348. While generally speaking it is acceptable for attorneys to focus on portions ofthe
     evidence that support the legal argument they are putting forth, in this case her
     statement constitutes fraudulent misrepresentations because the findings of the IAD
     interviewer were available but that evidence was purposely withheld by Attorney Taub,
     enabling her to tell the Arbitrator that the interviewer had made the opposite finding.

                                             33
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 39 of 87



349. Attorney Taub made other misrepresentations which influenced the Arbitrator to rule
     against Plaintiff, includingfalsely accusingPlaintiff of failing to provide Lieutenant
     Cullity with the location of the October 19,2005 shooting incident, and claiming this
     caused a delay in notifying the appropriate units and a delayed response to the scene, as
     reflected on page 11 of her post hearing brief.

350. Attorney Taub's statements about the location are directly refuted by the BPD's own
     documentation including a report prepared by Sergeant Detective Michael Talbot
     entitled "Investigation ofFirearm Discharged by Boston Police Officer Frank Lee."

351. Attorney Taub's testimony on this point is also refuted by the reports of Sergeant
     Colon, Sergeant Cunniffe and Lieutenant Cullity which show that Plaintiff relayed
     information about the location of the shooting incident to Lieutenant Cullity during the
     initial phone call, enabling units to respond right away.

352. Attorney Taub also misrepresented evidence by telling the arbitrator that the source of
     the information about the incident location was Sergeant Colon and not Plaintiff, which
     was directly refuted by the department's own evidence showing it was Plaintiff who
     provided that information to Lieutenant Cullity in the initial call.

353. These facts show Attorney Taub committed fraud on the arbitrator when stating that
     Plaintiff lied to the IAD about telling Lieutenant Cullity the incident location.

354. Attorney Taub also committed fraud on Plaintiff and on the arbitrator by withholding
     critical audio tapes that would have established Plaintiffs truthfulness.

355. Defendant BPD has required procedures that must be followed with respect to
     producing audio tapes related to the reporting of a shooting incident.

356. Attorney Taub failed to follow said procedures and did not produce these items that
     would have shown Plaintiff was truthful in his rendition of the event since they
     revealed information about the timing of reporting of the incident and time of dispatch.

357. The only audio recording made available by Attomey Taub in connection with the
     arbitration was the audio recording ofthe conversation between Lieutenant Cullity and
     SergeantFish; all other audio tapes were withheldfrom evidence includingany audio
     tape of the conversation betweenPlaintiff and Lieutenant Cullity which wouldhave
     supported Plaintiffs testimony that he advised Lieutenant Cullity of the incident
     location.



358. Attomey Taub also committedfraud on Plaintiff and on the arbitratorwhen she
     intentionally withheld CAD sheets that would have further supported Plaintiffs
     truthfulness.


359. The CAD sheets would have established that two police units were already responding
                                            34
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 40 of 87



     to the incident scene before Sergeant Colon told Lieutenant Cullity the location, and
     that Plaintiff was truthful and had in fact reported the location of Ae incident to
     Lieutenant Cullity enabling unitsto respond promptly.

360. Attorney Taub purposely withheld this evidence because she knew it would establish
     Plaintiff's truthfolness.

361. The BPD's PublicIntegrity Policy prohibits BPD personnel includingAttorney Taub
     from withholding said exculpatory evidence.

362. But for Attorney Taub's misrepresentationsof fact and intentional withholding of key
     evidence, Arbitrator Ryan would have ruled in Plaintiffs favor and Plaintiff would not
     be suffering with a baseless untruthfiilness determination in his record.

363. Had Attorney Taub disclosed the evidence as she was required to do. Plaintiff would
     have appealed the Arbitrator's ruling.

364. As described herein, the actions of Defendants BPD, Commissioner Gross, and the City
     of Boston served to facilitate, enable, and cover up the fraudulent actions of Attorney
     Taub, and led to delay in the discovery of these actions by Plaintiff.

365. To date. Defendants have continued to engage in fraudulent acts, as described herein,
     by covering up and refusing to investigate Attorney Taub's fraudulent conduct.

366. Plaintiff has suffered and is continuing to suffer economic and non-economic injury as
     a direct, proximateand foreseeable result of Defendants' fraudulent conduct and is
     entitled to recover damages from Defendants.

367. Plaintiff is entitled to recover his attorneys fees from Defendants for having to go
     through the arbitration process, seek correction of the improper ruling, and proceed
     with this lawsuit, as a direct and proximate result of Attorney Taub's fraudulent actions
     and the BPD's failure to rectify the harm she has caused.

                                      rOTTNT x m

         REQUEST TO VACATE ARBITRATION AWARD - GX. c. ISOC
                   (As to Boston Police Department and City of Boston)

368. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

369. Under G.L. c. 150C, § 11(a)(1) the Court shall vacate an arbitration award where the
     award was procured by corruption, fraud or other undue means.

370. Under Massachusetts law, presenting perjured testimony to an arbitrator and
     withholding exculpatory evidence in order to obtain an award in one*s favor constitutes
     fraud under G.L. c. 150C, § 11(a)(1).
                                             35
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 41 of 87




371. As described herein, the Arbitration Decision and Award dated May 24, 2013, upon
     which Plaintiffs untruthfulness determination is based, resulted from perjured
     testimony and improper withholding of exculpatory evidence by Defendant Taub.

372. Taub intentionally misrepresented Sgt. Chinetti's findings from the IAD interview and
     then unlawfully withheld his report from Plaintiff and the Arbitrator so they could not
     see that it refuted the Defendants' accusations against Plaintiff.

373. Therefore the Arbitration Decision and Award resulted from corrupt and fraudulent acts
     and use of undue means by Taub as an agent of Defendants BPD and the City of
     Boston.


374. As described herein. Defendants BPD and City of the Boston have failed to take
     corrective action with regard to Taub's conduct and are continuing to engage in
     fraudulent and corrupt conduct.

375. Plaintiff has submitted multiple notifications to Defendants BPD and the City of
     Boston, regarding the dishonest conduct and the incorrect information upon which the
     arbitration award is based in an effort to have his file corrected.

376. The response of Defendants and unwillingness to investigate the situation supports the
     conclusion that the arbitration award was procured by corruption, fraud and other undue
     means.



377. As described herein. Plaintiff submitted a public record request and a personnel file
     request seeking an unredacted copy of the IAD investigation report that is directly
     relevant to the untruthfulness accusation and arbitration award, but this document still
     being withheld by the Defendants, despite an Order to produce it from the Supervisor of
     Records for the Commonwealth of Massachusetts.

378. The unwillingnessto correct Plaintiffs record and refusal to provide relevant
     information and documents indicates a lack of transparency and a policy and practice of
     dishonestly throughout the department, and thus the Court should vacate the
     Arbitrator's May 24, 2013 Decision and Award, pursuant to G.L. c.lSOC, § 1l(a)l.

379. Since the arbitration award in this case is based on false testimony from Attorney Taub,
     results from the unlawful retaliatory pursuit of a meritless complaint against Plaintiff,
     and involves punishing an employee for exercising his legally protected rights
     including his constitutional rights and rights as a union member, it offends public
     policy and must be vacated under G.L. c. 150C, §11.


380. Additionally, the court should vacate the arbitrator's award on grounds that he
     exceeded his authority. He lacked authority to decide the issue of Plaintiffs alleged
     untruthfulness during the IAD interview, as that was not the accusation in the

                                             36
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 42 of 87



     Complaint Control Form 1920, Complaint #5953, and it was only constructed after
     exculpatory evidence surfaced showing the original accusation was meritless.

381. Where the BPD lacks evidence to support an original untruthfulness accusation, it may
     not construct a new accusation, claiming Plaintiffwas untruthful when interviewed
     about the original accusation.

382. As Plaintiff did not receive notice of the accusation and Defendants unlawfully
     withheld the IAD report upon which the accusation is based, the issue of untruthfulness
     was not properlybefore the arbitrator.

383. Defendants were required to provide the IAD reportto Plaintiffin 2008when Pong first
     madethe accusation as per the Personnel Record Law but failed to do so, and now have
     failed to provide it when ordered by the Massachusetts Supervisor of Records.

384. The collective bargaining agreement between the BPD and Plaintiffs union confers
     authority on the arbitrator to decide disputes but here he lacked authority to issue a
     binding decision because the BPD violated theagreement through its (hshonest,
     fraudulent and/or otherwise unlawful actions described herein.

385. This Court has authority to vacate the arbitrator's ruling because the arbitrator exceeded
     his authority.

386. Plaintiffis entitled to recover his attorneys fees from Defendants in seeking to havethe
      arbitrator's awzird vacated.

                                          COUNT XIV
                  TORTIOUS INTERFERENCE WITH EMPLOYMENT
                  AND ADVANTAGEOUS BUSINESS RELATIONSHIP
                                (As to Taub and Pong individually)

387. Plaintiff incorporates by reference the preceding paragraphs ofhis Complaint as though
      fully set forth herein.

388. As more fully described above. Plaintiff has had an advantageous employment
     relationship with Defendant BPD, resulting in economic benefit toPlaintiff and other
      benefits.

389. Defendants Taub and Pong have known ofthis relationship at all times relevant hereto.

390. Defendants Taub and Pong interfered with and caused harm toPlaintiffs relationship
     with BPD through various unlawful and unethical acts including fraud, intentional
     misrepresentations, defamation, violations ofthe Department's public integrity policy,
     retaliation, intentional withholding ofexculpatory evidence, withholding ofa personnel
     record, violation ofPlaintiffs civil rights and right to due process, and other actions
      described herein.
                                                37
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 43 of 87




391. Defendants Taub and Fong acted with improper motives and used improper means to
     carry out their actions as described herein.

392. Plaintiff has suffered and is continuing to suffer economic and noneconomic losses as a
     result of the actions of Defendants Taub and Fong including but not limited to lost
     wages, the expense of attorneys fees, emotional distress, lost opportunities for career
     advancement, and harm to his reputation. Plaintiff has suffered harm to his ability to
     perform his job functions and harm to his credibility as a government witness, as
     Defendants have caused him to be a "Giglio-impaired" witness.

393. Plaintiff is entitled to recover damages from Defendants Taub and Fong individually as
     a result of their above-described unlawful conduct.

                                        COUNT XV
                                      DEFAMATION
                            (As to Taub and Fong individually)

394. Plaintiff incorporates by reference the preceding paragraphs of his Complaint as though
     fully set forth herein.

395. As described herein. Defendants Taub and Fong published false statements of fact
     about Plaintiff to one or more third parties, in which they accused Plaintiff of acts of
     dishonesty, including but not limited to the act of lying to an IAD investigator during
     the January 18, 2006 interview.

396. The statements were published by Taub and Fong to an arbitrator, one or more federal
     prosecutors, and other third parties, including but not limited to the Boston Herald
     newspaper who published the statements to the general public in its newspaper and
     online, on or about July 10, 2009.

397. The aforementioned statements by Taub and Fong cast Plaintiff in a negative light as
     they call into question his moral character, truthfulness and credibility, traits that are
     essential to the performance of his job with the BPD.

398. Defendants' aforementioned statements have caused Plaintiff to be permanently labeled
     as someone who cannot be trusted to tell the truth, in a legal proceeding or otherwise.

399. At the time the statements were made, Defendants Taub and Fong held influential
     positions with Defendant BPD.

400. Defendants Taub and Fong made the aforementioned statements knowing they were
     false or with reckless disregard of their truth or falsity.

401. Plaintiff has suffered and will continue to suffer economic and noneconomic damages
     as a result of Defendants' statements, including emotional distress that is impacting his
                                             38
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 44 of 87



     health, and injury to his reputation caused by the permanent negative mark on his
     record labeling him as untruthful and negatively impacting his opportunities with
     regard to promotions within the BPD in the past and for the remainder of his career in
     law enforcement.

402. Accordingly, Plaintiffis entitled to recover damages from Defendants Taub and Fong
     as a result of their above-described unlawful conduct.

403. Plaintiff learned of the defamatory nature of Defendants' statements upon receiving a
     redacted copy of Sergeant Chinetti's February 6, 2006 IAD investigation report in late
     2017.


404. Plaintiff learned that the BPD was ignoring the report and condoning the defamatory
     statements in 2019 when he learned that the BPD would not remove the untruthfulness
     determination from his file.

405. The defamatory statements by Defendants Taub and Fong were made as anunlawful
     retaliatory measure in response to Plaintiff exercising hislegal rights and challenging
     the BPD's actions, as described herein.

406. Defendant BPD has failed to remove the untruthfulness determination from Plaintiffs
     record that was caused by the defamatory statements, despite receiving information
      showing the statements are false.

407. Defendant BPD is liable to Plaintiff for the economic and non-economic damages he
      has suffered, basedon the actions of its agents and representatives including
      Defendant Taub and Defendant Fong, andthe BPD is directly liable for its failure to
      take corrective action.

408. The harm Plaintiff has suffered as a result of Defendants' unlawful conduct is
      irreparable, especially given that the law enforcement community inBoston isa small
      one where individuals know one another and Plaintiffs value to the Department as a
      detective and as a government witness in court proceedings hasbeen greatly
      diminished.


409. Based on the content ofDefendants' statements (i.e. accusations of dishonesty), and the
      fact thatthey were made by representatives of Plaintiffs employer, the statements are
      automatically presumed to damage Plaintiffs reputation and opportunities for future
      advancement in law enforcement, as a matter of law.

410. Defendants' conduct constitutes defamation per se as a matterof law, andPlaintiffis
     entitled to recovery without proofthat he suffered economic damages, as the content
      and source of Defendants' statements create an automatic inference that Plaintiff has
      sustained such damage, and Plaintiffis entitled to special damages, including punitive
      damages.

                                               39
          Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 45 of 87



     411. Plaintiff is entitied to recover damages from the BPD and from Defendants Taub and
          Fong individually as a result of the above-described unlawful conduct.

                                         PRAYER FOR RELIEF


        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiffs
 favor and againstDefendants on each and every count of the Verified Complaint, including:

     (1) Ordering Defendants to immediately and permanently remove the untruthfulness
         determination from Plaintiffs record;
     (2) Ordering Defendants to circulate a notice throughout the BPD stating that the previous
         untruthfulness determination against Plaintiff was erroneous and he has been cleared with
         respect to same;
     (3) Declaring the February 6,2006 IAD investigation report to be a public record and/or a
         personnel record and ordering Defendants to provide Plaintiff with an unredacted copy;
     (4) Vacating Arbitrator Ryan's May 24, 2013 Arbitration Decision and Award;
     (5) Ordering Defendants to pay monetary damages to Plaintiff including but not limited to
         lost earnings to date and reasonably anticipated future lost earnings, damages for
         emotional distress and harm to psychological and physical health, damages for harm to
         reputation, lost educational opportunities, and lost opportunities for promotion and career
         advancement, attorneys fees, costs, interest, and special damages including punitive
         damages and multiple damages;
     (6) OrderingDefendantsto remove their order barringPlaintiff from contacting the BPD
         Internal Affairs Division; and
     (7) Ordering such other legal, equitable and declaratory relief to Plaintiff as the Court deems
         just and proper.

 PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES TRIABLE BY JURY.

                                                 Respectfully submitted.
I HEREBY ATTEST AND CERTIFY ON                   Plaintiff, Alvin Holder,
April 28. 2020 , that the                        By His Attorneys,
FOREGOING DOCUMENTIS A FULL
TRUE AND CORRECT COPY OF THE
ORIGINALON FILE IN MYOFFICE.      s
AND IN MY LEGAL CUSTODY.
                                                 Julie A. maby [BBOW530124]
         MICHAEL JOSEPH DONOVAN
         CLERK/MAGISTRATE
                                               juliehal^y@halabylegal.com
         SUFFOLK SUPERIOR CIVIL COURT          Jon A. Halaby [BBC No. 666003]
         DEEAffFWEirrOEJHtfTHIAL COURT
                                               jonhalaby@halabylegal.com
                                               Halaby Law Group, P.C.
     First Asst.       Cler                      14 Main Street
                                                 Hfingham, Massachusetts 02043
                                                 Tel: (781) 749-0909
                                                 Fax: (781) 749-0997

 Dated P

                                                   40
  Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 46 of 87




                                      VEMFICATION



        I, Alvin Holder, tbis X day of               2020, hereby veri^ that the above-stated
facts are true and accurate to the best ofmy ability kd based upon my first-lmd personal
knowledge orinfonmto an^liefthat Ideveloped from third parties or mdependent research.
Alvin Holder

Dated        3^2,02.0




                                                41
Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 47 of 87




                EXHIBIT A
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 48 of 87




SaskmRifSee     dspaktmbnt                                            1 Schroeder Plaza, Boston, MA 02120-2014


 TO:           Deputy Superintendent Marie L. Donahue
               Assistant Chief, Bureau of Internal Investigations

 FROM:         Sergeant Wiliiam J. Chinetti
               Internal Affairs Division

 SUBJECT: internal Affairs Case #240-05, Complaint Control #5953, Alleging
          Violations of Ruies 102 § 4 (Neglect) and 102 § 23 (Truthfulness)
               Against Officer Alvin Holder Assigned to District B-3, This Case also
               Alleges a Violation of Rule 102 § 4(Neglect) Against Officer Frank Lee
               Assigned to District B-2.

 DATE:         February 6, 2006


 Ma'am:

         Irespectfully submit the following report in reference to the above complaint:

 SUMMARY OF r.OMPLAINT r-ONTROL FORM 1920 (Attachment # 1)
         Officer Holder was untruthful regarding information that he supplied to
 Superintendent Johnson. Officer Holder was negligent regarding the shooting scene of
 a firearm discharge.

         Officer Lee was negligent while handling a loaded firearm.

  INVESTIGATIVE SUMMARIES:

  Summary of Interview of Police Officer Alvin Holder (Attachment #2)
          Interview taken on January 18, 2006. by Sergeant Detective William Chinetti,
  assisted by Lieutenant Detective Arthur Stratford at Boston Police ^eadq^rters insi^^^^
  the offices of the Internal Affairs Division. The interview began with Officer Holder
                                     K Mi hi. f Am.ndm.nt p«lw ««i
  his Article 12-privilege (Attachment #3). Interview is as follows;
         Officer Holder stated that on October 19, 2005, he might have woited the Valet
                           St. um. 3:30 ™                          7:00.7:30
  OfSrar Frank Iran, OJioer Eric Mnncray, anil
  Holder's house, to the Rhode Island border, to purchase Power Bali tickets at a


                        Mayor Thomas M. Menino • Commissioner Kathleen M. O'Toole
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 49 of 87




convsnisncs stor©. Offic©r HoId©r statsd thst from th© tim© ©v6ryon© mot st his hous©,
until th© conclusion of this incident, no one had consumed any alcohol.
      Officer Holder stated that at 9:40 PM he was operating his Ford F150 pick up at
the intersection of Raldnie Rd. and Stonehill Rd. Officer Holder stopped while a vehicle
in front of him backed into a driveway. Officer Mencey was seated in the passer^
seat, Officer Lee was seated In the rear seat behind- Officer Mencey, and
         was seated inthe rear seat behind Officer Holder.

       Officer Lee stated, "Hey Al lake this." Officer Holder heard a bang, observed a
hole in the passenger side of the windshield, placed the car in park, tumed on the
interior light, and observed smoke inside of his vehicle. Officer Holder ol'ssrved Officer
Mencey holding his shoulder, he tumed, and took a Walther 380 Gal. Senal #3029564
handgun from Officer Lee's hand. Officer Holder made sure that the hammer of the
firearm was down and then actived the safety.
       Officer Holder stated that he was the owner of the Walther. and that Officer Lee
was borrowing it because he was considering purchasing it.
       Officer Holder visually scanned the area and did not observe anyone Injured from
the projectile that exited the vehicle. Officer Holder did not exit the                °
the well being of any residents in the immediate area, or the occupants of the vehicle
that was backing into the driveway.
       Officer Holder did not notify the Operations Division of the ^^rn discharge anj
the fact that Officer Mencey was shot dunng the discharge.^^r Holder did to
 reouest H&H to respond to administer medical treatment to Officer Mencey. on^r
 Holder did not notify District E-18 that there was afirearm discharge nor did he attempt
 to secure the area.

        Officer Holder stated that since he vvas



 Supervisor from his cell phone and Informed him of the srtuation.
       When Officer Holder arrived at the Faulkner Hospital he called Lieutenant Patrick

 discharged the firearm.

 .rdval Officer rending
                Holder statedBoston
                               that at the hospital                         left befor^jro
           was having family problems, and that                   was movmy
      Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 50 of 87




                     stated that he had nothing to do with this, it was too much, and he
left the hospital.

       Officer Holder stated that after 71/2 years as a police officer, he has responded
to shooting calls while on duty. Officer Holder stated that if he responded to a shooting
scene, and one of the witness stated they had nothing to do with the shooting, and they
were having family problems, he would allow them to leave the scene prior to the arrival
of the investigating units, as long as he had a positive identification.
        Officer Holder stated that Sergeant Colon took possession of his Walther 380 at
the Faulkner Hospital.

        Officer Holder stated that Superintendent Bobbie Johnson interviewed him atthe
Faulkner Hospital. Officer Holder stated that Superintendent Johnson asked hirn who
was shot, and Officer Holder responded, "Officer Mencey." Superintendent Johnson
asked who had the gun, and he stated, "Officer Lee." Superintendent Johnson asked
who was driving and Officer Holder stated he was.
        Superintendent Johnson informed Officer Holder, "Since you were driving, you
are a witness and you can tell me what happened." Officer Holder stated that he
chuckled during the interview, because he believed that Superintendent Johnson was
trying to bait him into saying something. Officer Holder responded, "it was an
discLge from the back to the front, and that he would P^^^'de rnore inform^
speaking with aunion representative." Officer Holder stated that he did not direc y
Superintendent Johnson that Officer Lee discharged the firearm.
        Officer Holder stated tfrat the union representative Officer Jay Broderick
 not to say anything. Therefore. Officer Holder did not tell Superintenden
 discharged the firearm or the details around the discharge. Officer Holder stated
 wanted to provide Superintendent Johnson with as little information as possible.
         Officer Holder stated that Lieutenant Detective Robert Harrington read tiim his
                          F«,lkner teplttl. OKtor HMdr sB»d tt.t »i. mm
 advised him to invoke his Miranda rights and Officer Holder complied.
       Officer Holder stated that when he returned home later              evening, he
 through the shooting scene. Officer Holder stated that, a
 recovered abullet fragment on the street that was discharged                            5,5°',
 Officer Holder notified District E-18. Attorney Anderson, and stayed on scene until
 someon© from E-18 responded.
 Summary of Interview of Police Officer Frank Lee (Attachment #5)

 The offices of the Intemal Affairs Division. The interview began with Officer Lee signing
    Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 51 of 87




a Carney Form whereby he asserted his 5^ Amendment privilege and waived his Article
12-prlvllege (Attachment #6). interview Is as follows:

      Officer Lee stated that after completing a "Day" tour of duty on October 19,2005,
he had a beer at his residence, and arrived at Officer Holder's house at approximately
7:00 PM. Officer Mencey and MPHHHMHi also met at officer Holder's house.
Officer Lee stated that they all went to a Rhode Island convenience store In Officer
Holders truckto purchase Power Ball tickets and arrived at approximately 7:30 PM.

       Officer Lee stated that they immediately returned to Officer Holder's house.
Officer Holder was operating the vehicle, Officer Lee was seated in the rear seat behind
Officer Mencey, and                        was seated in the rear seat behind Officer
Holder.

       Officer Lee was In possession of a Walther 380 Gal. Serial #8029564 handgun
that he borrowed from Officer Holder. Officer Holder was the legal owner of the firearm.
Officer Lee stated that he was going to Officer Holder's house with the intention of
drinking. Therefore, he decided to retum the firearm to Officer Holder while they were
inside Officer Holderis vehicle.

       Officer Lee stated that at approximately 9:40 PM Officer Holder was stopped at
the intersection of Raldne Rd, and Stonehiil Rd. waiting for a vehicle to back out of a
driveway. Officer Lee removed a loaded Walther 380 Gal. Serial #8029564 handgun
from an open nylon holster that was positioned inside his pants and clipped to them.
Officer Lee stated that the holster was failing in and out because his pants were loose.
Officer Lee stated that he did not move around in anyway that caused the holster to
become loose. Officer Lee stated that he was sitting in an uncomfortable position
because there were so many things in the vehicle, and this helped attribute to the
holster becoming loose.

       Officer Lee stated that he did not remove the handgun as Instructed at the
Boston police firing range. He stated that a fully loaded clip was in the firearm when he
removed it from the holster. Officer Lee also stated that there was a round iri the
chamber and his finger was not outside of the trigger guard, when he attempted to pass
the firearm to Officer Holder. Officer Lee stated that his finger was on the trigger, and
the firearm discharged. Officer Lee thought the firearm safety was activated from when
he placed the firearm into the holster earlier in the day.
       Around from the Walther entered Officer Mence/s shoulder, exited his shoulder,
and exited the vehicle through the passenger side of the windshield. Officer Holder took
the firearm from Officer Lee.

       Officer Lee stated that he did not notify the Operations Division, District E-18, or
anyone else of the firearm discharge. Officer Lee stated that he did not check on the
well being of the residents in the area, and he did not secure the shooting scene.
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 52 of 87




Officer Lee did not request H&H to respond to administer medical treatment to Officer
Mencey.

       Officer Lee stated that Officer Holder immediately drove to the Faulkner Hospital.
Officer Lee stated while at the Faulkner Hospital, he spoke with union representative
Officer Jay Broderick and Attorney Drechsler. Lieutenant Detective Robert Harrington
administered Officer Lee his Miranda warning, and Officer Lee Invoked his right.

      Officer Lee stated that he did not return to the scene of the discharge later that
evening' or early the next morning to assist with the investigation.


INVESTIGATION


   On October 19. 2005, Officer Holder, Officer Lee, Officer Mencey,
Mhbh went to a Rhode Island convenience store to purchase Power Ball tickets.

      After purchasing the tickets the group returned to Officer Holder's house. Officer
Holder was operating the vehicle, Officer Lee was seated in the rear seat behind Officer
Mencey, and VPBMMHMnii was seated in the rear seat behind Officer Holder.
        Officer Holder was stopped at the intersection of Raldne Rd. and Stonehill Rd.,
waiting for a vehicle to back into a driveway. Officer Lee removed a loaded Walther 380
Cal. firearm that was owned by Officer Holder, from a holster that was positioned Inside
his pants. The firearm discharged, a round entered Officer Mencey's shoulder, and
exited the vehicle though the windshield. Officer Holder took the firearm from Officer
Lee.


       Officer Holder immediately drove to the Faulkner Hospital. Officers Holder and
Officer Mencey informed Lieutenant Cullity that they were involved with an accidental
discharge and that Officer Mencey was shot. Numerous Boston police personnel
responded to the Faulkner Hospital as a result of the incident.
Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 53 of 87




                                         'ffr




                                       '•-••->1   '•••-.•....•/.•fv'-.'




                                                                          i-'.   't -tsi{''"•••i.W'''
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 54 of 87




                                                Respectfully submitted,



                                                Sergeant William ChinettI
                                                internal Affairs Division

Contents Noted &Approved



Deputy Superintendent Marie L Donahue
Assistant Chief, Bureau of Internal Investigations
»   >   r

            Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 55 of 87




                            EXHIBIT 8
           Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 56 of 87




                          The Commonwealth of Massachusetts
                         William Francis Galvin, Secretary of the Commonwealth
                                        Public Records Division

  Rebecca S. Murray
  Supervisor ofRecords
                                                        January 9,2019       •
                                                        SPR18/2094


  Shawn A. Williams, Esq.
  Director of Public Records
   City of Boston
   1 City Hall Plaza, Room 615
   Boston, MA 02201

   Dear Attomey Williams:

            I have received the petition of Julie Halaby, Esq. ofHalaby Law Group, P.C. on behalf of
   Detective AlvinHolderappealingthe response of the BostonPolice Department (Department) to
   a request for publicrecords. G. L. c. 66, § lOA: see also 950 C.M.R. 32.08(1). Specifically, on
   September 24,2018, Attomey Halabyrequested "[t]he complete Intemal Affairs Division(IAD)
   file for IADcase #240-05, includingbut not limited to a complete and unredacted copy of the
   Febmary6,2006 reportfrom Sgt. William Chinetti to Deputy Supt. Marie Donahue in that case
   (Investigative report)." The Department provided a response on September 27,2018, which
   included portions ofthe responsive records in redacted form. The Department denied access to
   the Investigative report because Attomey Halaby has a unique rightof access to the records and
   pursuant toExemption (f) of thePublic Records Law. G. L. c. 4, § 7(26)(f). Unsatisfied with the
   Department's response, Attomey Halaby petitioned this office and this appeal, SPRl 8/2094, was
   opened as a result. This appeal pertains to the Investigative report only.

   Purpose ofrequest; identity ofrequestor

           Pleasenote that the reason for which a requestor seeks access to or a copy of a public
   record does notafford any greater right of access to the requested information than otherpersons
   in the general public. ThePublic Records Law does notdistinguish between requestors. Access
   to a record pursuant to the Public Records Law rests onthecontent of the record and notthe
   circumstances oftherequestor. SeeBoueas v. Chiefof Police of Lexington. 371 Mass. 59, 64
   (1976). Accordingly, Attomey Halaby's purpose in making the request hasnobearing on the
   public status of anyexisting responsive records.

            It should be noted that the discovery process andthe Public Records Law are two distinct
   and independent avenues for gaining access to records. The Massachusetts Supreme Judicial
   Court hasheld thatwhile a party's access to records may be limited by the Public Records Law,

One Ashburton Place, Room 1719, Boston, Massachusetts 02108 • (617) 727-2832* Fax: (617) 727-5914
                                 sec.state.ma.us/pre • pre@sec.state.ma.us
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 57 of 87

ShawnA. Williams, Esq.                               SPRl 8/2094
Page 2
January 9,2019


this maynot preclude obtaining the records through discovery. Cninmnnwealth v. Wanis. 426
Mass. 639 (1998). See also950 C.M.R. 32.08(l)(a) (the administrative appeal process "shall not
applyto recordsin which an individual, or a representative of the individual, has a unique right
of access to the record through statutory, regulatory, judicialor other applicable means")- As
such. Attorney Halaby may wish to consider another means of seeking to obtain any existing
responsive records.

The Public Records Law

       The Public Records Law strongly favors disclosure by creating a presumption that all
governmental records are public records. G. L. c. 66, § lOA(d); 950 C.M.R. 32.03(4). "Public
records" is broadly defined to include all documentary materials or data, regardless of physical
form or characteristics, made or received by any officer or employee of any town of the
Commonwealth, unless falling within a statutory exemption. G. L. c. 4, § 7(26).

       It is the burden of the records custodian to demonstrate the application of an exemption in
order to withhold a requested record. G. L. c. 66, § 10(b)(iv); 950 C.M.R. 32.06(3): see also Dist.
Attomev for the Norfolk Dist. v. Flatlev. 419 Mass. 507, 511 (1995) (custodian has the burden of
establishing the applicability of an exemption). To meet the specificity requirement a custodian
must not only cite an exemption, but must also state why the exemption applies to the withheld
or redacted portion of the responsive record.

       If there are any fees associated witha response a written, good faithestimate must be
provided. G. L. c. 66, § 10(b)(viii): see also 950C.M.R. 32.07(2). Once fees are paid, a records
custodian must provide the responsive records.

The Departments September if' response
       In its September 27, 2018 response, theDepartment, referencing a Public Records
Regulation, 950 C.M.R. 32,06(l)(g), states that "[a]s coxmsel for Detective Holder, you have a
*imique right of access' to these records outside ofthe Public Records Law. Accordingly, the
Department will not consider this asa public records request but will provide the records
[Attomey Halaby is] seeking in response to aninformation request." The Department, however,
encloses a copy of the IAD case file.

        The Department asserts thatshould Attomey Halaby's request be treated as a public
records request, it would withhold theInvestigative reports from disclosure under Exemption (f)
because, they "... are confidential and investigatory." The Department states "[t]he exemption
allows investigative officials to withhold materials that could compromise investigative efforts if
disclosed. Accordingly, a records custodian may withhold confidential investigative techniques
indefinitely since their disclosure would prejudice future law enforcement efforts." As such, the
Department asserts thatit"... withheld Aese reports as they contain information used to
determine the charges that were levied against Officer Lee and Detective Holder. These reports
contain the opinions and recommendations ofthe investigations and disclosing this information
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 58 of 87

Shawn A. Williams, Esq.                               SPRl8/2094
Page 3
January 9, 2019


would expose the techniques used in firearm investigations and Internal Affairs Investigations."
Exemption (f)

       Exemption(Q permits the withholding of:

       investigatory materials necessarily compiled out ofthe public view by law
       enforcement or other investigatory officials the disclosure of which materials
       would probablyso prejudicethe possibility of effective law enforcement that such
       disclosure would not be in the public interest

       G.L.c.4,§7(26)(f).

        A custodian of records generally must demonstrate a prejudice to investigative efforts in
order to withhold requested records. Information relating to anongoing investigation may be
withheld if disclosure couldalert suspects to the activities of investigative officials. Confidential
investigative techniques may also be withheld indefinitely if disclosure is deemed to be
prejudicial to future law enforcement activities. Boueas v. Chiefof Policeof Levinptnn 371
Mass 59,62 (1976). Redactions may be appropriate where they serveto preserve the anonymity
of voluntary witnesses. Antellv. Attomev Gen.. 52 Mass. App. Ct. 244,248 (2001); Reinstein v.
Police Comm'rof Boston. 378 Mass. 281,290 n.l8 (1979). Exemption (f) invites a "case-by-
case consideration" of whether disclosure "wouldprobably so prejudice the possibility of
effective law enforcement that such disclosure wouldnot be in the public interest." See
Reinstein. 378 Mass, at 289-90.

        The Department asserts that the Investigative reports .. contain information used to
determine the charges that were levied against Officer Lee and Detective Holder,... the
opinions and recommendations ofthe investigations, and [that disclosure]... would expose the
techniques used in firearm investigations and Intemal Affairs Investigations." However, it is
unclear how disclosure of the Investigative reports would reveal confidential investigative
techniques that are unique to the Department or how disclosure "would probably so prejudice the
possibility of effective law enforcement that such disclosure would not be in the public interest"
as required by Exemption (f). It is additionally uncertain why records cannot be redacted to
prevent the disclosure of the Department's techniques used in its firearm investigations and
Intemal Affairs Investigations.      Reinstein v. Police Comm'r of Boston. 378 Mass. 281,289-
90 (1979) (the statutory exemptions are narrowly constmed and are not blanket in nature). Any
non-exempt, segregable portion of a public record is subject to mandatory disclosure. G. L. c. 66,
§ 10(a).

Unique right ofaccess; application ofadministrative appeals process

       In its response, the Department asserts that because Attorney Halaby is counsel to
Detective Holder, she has a unique right of access to the records outside of the Public Records
Law. However, it is unclear how Attomey Halaby has a unique right of access thereby barring
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 59 of 87

ShawQ A. Williams, Esq.                               SPRl8/2094
Page 4
January 9,2019


the application of theadministrative appeal process asrequired under thePublic Records Law. In
her petition for appeal, Attomey Halaby explains that "[t]he Department has vvdthheld the report
jfrom Detective Holder since 2006 and withheld it from his former attomey inmultiple
proceedings where accusations weremade against him. TheDepartment has denied me access to
thereport as his current attomey. It has failed to produce it to me in response to mymultiple
requests including my request for his personnel file, which violates the Personnel Record Law,
M.G.L. c. 149, s. 52...."

       Accordingly, based on the information provided by Attomey Halaby in her petition, it is
unclear how she has a uniqueright of access to the requested records. The Department must
identifythe means affordingAttomey Halabya "uniqueright of access" and explain its
applicabilityor apply the Public Records Law to the request and explain with specificity how
Exemption (f) applies to withhold the responsiverecords in their entirety. I understand a Public
Records Division staff attomey contacted your office about this appeal but was unable to reach
you prior to the issuance of this decision.

Conclusion


        Given that the Department did not meet its burden to explain how an exemption applies
to the records, the requested records may not be withheld. Accordingly, the Department is
ordered to review the Investigative reports, redact where necessary, and provide Attomey Halaby
with responsive records, provided in a manner consistent with this order, the Public Records
Law, and its Regulations within ten business days. A copy of any such response must be
provided to this office. It is preferable to send an electroniccopy of this response to this office at
pre@sec.state.ma.us. The Department may file a request for reconsiderationofthis determination
within ten business days of the date of this determination letter.

                                                      Sincerely,



                                                      Rebecca S. Murray               ^
                                                      Supervisor of Records

cc: Julie Halaby, Esq.
             Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 60 of 87
                                                                                 DOCKETNUMBER
                                                                                                                                                                                      2
                                                                                                                                 Trial Court of Massachusetts                         ^
                 CIVIL ACTION COVER SHEET
                                                                                            D3S'Op                               The Superior Court
          PLAINT[FP(S):       Alvin Holder                                                                                 COiaiTY

          AOORESS:            4 Mansen Court Hyde Pailt MA02136                                                                        Suffolk

                                                                                                   OEFENDANT|S):       Boston Police Dept.QtyofBoston, Wlliam Gross, William Evans,

                                                                                                   EcMerdDavis, NicoleTaub, Kennetti Pong and Stiavvn WiUiams

          ATTORNEY:           JulieHalaby, Jon Halaby, Halaby Law Group, P.O.

          AOORESS:            14 MainSt. Hingltam, MA02043                                         AOORESS:            1 Sdtroeder Plaaa, Boston, MA 02120




          BBO:                630124,666003

                                                             TYPE OF ACTIONANDTRACK DESIGNATION (see reverse side)                                         ==                m
                       CODE NO.                       TYPE OF ACTION (specify)                                  TRACK                 HAS AJURYGt^M B&BN
                 A04                          employiTietrt                                                      F                    [g YES       NO»
             *lf "Other" please describe:
                                                                                                                                                                 CO     £2
                       Is there a claim under G.l~ c. 93A?                                                    Isthisa classaction under Mass^^iv. 1^3? ^ C
                       •   YES               [3 NO                                                                  • YES               SNO                      ^
                                                                STATEMENT OF DAMAGES PURSUANT TO G.L.C. 212, §3A
                                                                                                                                                    SJp
          The following Is a fiill, itemized and detailed statement of the facts on which the undersigned plaintiff orplaintifTs counsel reti^^'dete^ne mOit^ damages.
          For this form, disregard double or treble damage claims: indicate single damages only.                                                    m-..-       _      :-5 0
                                                                                                                                                                       -ncr

                                                                                               TORT CLAIMS                                             ^
                                                                                   (attach additional sheets as necessary)
          A. Documented medical expenses to date:
                  1. Total hospital expenses                                                                                                                            $_
                  2. Total doctor expenses                                                                                                                              $_
                  3. Total chiropractic expenses                                                                                                                        $.
                  4. Total physical therapy expenses                                                                                                                    $.
                  5. Total other expenses (describe below)                                                                                                              $
                                                                                                                                                       Subtotal(A): C
          B. Documented lost wages and compensation to date                                                                                                             S
          C. Documented property damages to date                                                                                                                        ?
          D. Reasonably anticipated future medical and hospital expenses                                                                                                i,
          E. Reasonably anticipated lost wages
          F. Other documented items of damages (describe below)                                                                                                         tSfiS
          See Attachment A

          G. Briefly describe plaintjfTs Injury, including the nature and extent of injury:
          See Attachment A
                                                                                                                                                        TOTAL (A-F):$



                                                                                        CONTRACT CLAIMS
                                                                                (attach additional sheets as necessary)
           I IThis action includes a datm involving collection ofa debt incurred pursuant to a revolving creditagreement. Mass.R.Civ. P. 8.1(a).
          Provide a detailed description of claim(s):
                                                                                                                                                                TOTAL: $ ^tVlg 01$
          See AttachmentA                                                                                     i /

          Signature of Attorney/ Unrepresented Plaintiff: X                                                                                                  Date:

          RELATED ACTIONS: Please provide the case number, case na                                nd county o          related        ns pending Inthe Su )^or oburt


                                                                  CERTIFICATION i;|U»IIANT TO SJC RULE 1:18
           hereby certifythat I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
          Rule 1:18) requiring that I provide my clients with informationabout court-connected dispute resolution services and discuss with them the
          advantages and disadvantages of the various methods of dispute resolution.

         Signature of Attorney of Record: X                                                                                                                  Date:             />©
 IHEREBY ATTEST AND CEH flFV ON

^E^m^.i020..™,^TTHE
 FOREGOING DOCUMENT IS AFULL,
 TRUE AND CORRECT COPY OF THE
 ORIGINAL ON FILE IN MY OFFICE
 AND IN MY LEGAL CUSTODY.
                                                %
          MICHAEL JOSEPH DONOVAN
         CLERK/MAGISTRATE
         SUFFOU^PERIOR CIVIL COURT
         DEBAHTMENT QEJH^RIaI COURT

   First Asst. Clerk
                       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 61 of 87
                                                   Cn/ILACTKM COVER SHEET INSTRUCnONS
                                     SELECT CATEGORY THAT BEST DESCRIBES YOUR CASE
                                                                            BtEguttnfateRemp^^                                       RPRndPropiMty
      AA1 Oortract Action faivoMng Commomv^lth.
          iy(URicl{iaay.MBTA.e£a:               (A)
                                                                OOlSpecthoPerftKmance ofa Contract       (A)          001 Land TaJdng                            (P)
      AB1 Tortious Actkin invoMno ConunonweaBh.                 002Reach and Appiy                       (P)          CQ2 Zoning App^GJ^&40A                     ^
                                                                003iitiunctfcn                           ^            C03 Dispute Conoembig'ntte                 ^
           MujKip^. MBTA.                       (A)             D04 R^orm/Cancel Instrument              (P)
      3*C1 Red^ropei^ Action invdviRg                           1305 Equitable Replevin                  (P)          C04FbtedO8ure ofa Mortgage                 (X)
           CoRi^ftonweaBh, Munic^iaiay. IffiTA etc (A)                                                                COS Condomit&m Lien SOenges                ()q
          EqtiiAActen^woMng Oommonwealth,
                                                                (XIGCordiaxdionortndemniticatian         (F)          099 Other RealPraperty Action              (F)
                                                                007Imposition ofa Trust                  (A)
       ' MuneipaBy,MBTA.et&                        (A)          008MinoraySharehoidef^ Suit              (A)
      AE1 Admintstrafive Action involving
          Cooitnonwcatth. Muiticipaffiy, WBTA,etc. (A)          009 Interferenoe in Con^uai Relationship F)
                                                                010Accounting                            (A)          E1B Foreign Discovery Proceeding           (X)
                                                                OIIEnftxcamentofReshlctiveCovenmit       ^            e97Prisoner HdMasCoipus                    (X)
                                                                012 Oissoiufion ofa Partnership                       E22 Lottery As8ignmertG.LcL 10,§28         ()Q
                                                                013Oedarmory JudgmenL G.L c.231A         (A)
      A01 Seivices. Labor,and Materials            (F>          014Oissohtlion ofa Corporation           (P)                AB AbOsdHarassimnt PrawwiBan
     A02 Goods Sold and Oeinered                   (P)          099Other EquityAction                    (P)
     A03Ooffltncrciai Paper                        (F)
     A04 EmployinentContract                       (F)
                                                                                                                     E1S Abuse Prevention P^tion.G.Lc20SA ()0
     AOS ConsumerRevolvtiqCredit- HAcp.ait         (F)
                                                               PAChlflActiwgtBVdWnateeanMMtiMiP^                     E21 Pratectkm from Harassment, G.La 2S8E(X}
     A06 insurance Contract                        (F)
                                                               PA1ContraaAcSoninvolving an                                   AA Adrofadst/irthfe CMl Actions
                                                   (F)
     A12 Construction Dis^                         (A)              Incaroerated Party                  (A)
     A14 hSerpleadEr                                           PB1 ToitiousActioninMolvtng an                        BQ2 AppealfiomAdtninistraliweAgency,
                                                   (F)                                                                   GJ.e.3QA                                (X)
     BA1 GtMentance; ConducL Intemd                                 hcarnsated Party                    (A)
          Affiaitsof BrflBes                                   PCI RealPrapeihf Action invoMng an                    BD3GafioiariAi:dB^GiL.&249L§4               (X)
                                                   (A)
     BA3 Uablty ofSItarelioldeis. OirectDrs;                        IncarcerBCed Party                  (F)
                                                                                                                     GOSOonGrmaSoncfAibaialionAwffids            (X)
         Offioefs, Partners, etc.                              P01 EquihrActioninvolving an                          G06Ma8sAtditrustAcLG.Lc.93.§9               (A)
                                                   (A)
     BB1 StiarelKitder Derivative                                   Incarcerated Party                  (F)
                                                                                                                     G07MassAt^bustAct,G.L 0.93, §8              (X)
                                                   (A)
     BB2 Securities Transactions                               PE1 AdniRBstrdne ACbon involving an                   BOSAppointmetttafaReceiyer                  (X)
                                                   (A)
     BC1 Mergers, Consoedations, Salesof                           Incaroerated Party                   (F)
                                                                                                                     BSConsBnmtiQn SuretyBond, G.L a 149,
         Ass^ Issuanceof Debt Equi^. etc.                                                                                S29,29A                                 (A)
                                                   (A)
     BD1 tnteltedual Property                      (A)                             TR Torts                          ElOSranmaty ProcessAppeal                   (X)
     BOSProprietary Inform^ionor Trade                                                                               Ell WotlBYsCompensalion                     (X)
          Seocts                                               B03 MotorVetride NegBgence- Persona)                  E16AutoSurchargeAppeal                      (X)
                                                   (A)                                                               E17Ova Rights Ad, 6.L &12, § 11H            (A)
     BG1 Rnanctal tnstitutionsd=unds               (A)             ityiByd^roperty I3amage              (F)
     BH1Viotabonof Antaiust or Trade                           B04 Other NegtigenDe - Personal                       E24 Appeal fiom District Court
         Regulabon Lews                                            trquryd^roperty Oam^                 (F)
                                                                                                                         Oommiment, Gi_ a123t § 9(b)             (X)
                                                   CA)
     A99 Other Contractfflusiness Aclian - ^lec^   (F)         BOSProducts Liabi%                       (A)
                                                               BOG MalpiadiDe - Mecfcal                 (A)
                                                                                                                     E94 Fiarteitura G.L.a 265, § 56            (X)
                                                               BQ7Malpradioe - Other                                 E95Forfidlute; G.L c. 94C, §47             (F)
                                                                                                        (A)
     *Choosethiscase typeifANY par^ isthe                      BOSVMongful Death - Non-fflerfical       (A)
                                                                                                                     E99 OBterAdmimstrative Action              (X)
     OorranonweaKh. a minidpaMy, the MBTA, orany               B15 OefamaOon                                         Z01 Meifical MalpractiDe - Tiaxinalonly,
                                                                                                        (A)
     othergovemmenial entity UNLESS yotff rase B a             B19Ast)estos                                              G.La231.§GGB                           (F)
                                                                                                        (A)
     case type fisted under Administrative Gva Actkms          B20Personal Injury-^tp &Fan                           Z02 Appeal Bond Denial                     (X)
                                                                                                        (F)
     (AA).                                                     B21 Bnvironmenta!                        (F)
                                                               B22 Bnptoymmit Otscranination                                    SOSccOffendwRMriwif
                                                                                                        (F)
     t ChoosethisC3KtypeifANY partyis an                       BE1 Fraud. Business Torts, etc.          (A)
     incarcerated party, UNLESS yourcase isa nrwf              B99 Odier Tortlous Adion                              E12SOPCommitment, G.Le. 123A. § 12         (X)
                                                                                                        (F)          E14SOPPetition. G.L c. 123A, § 9(b)        (X)
     typeSsted underAdministtBtive Civil Actnns(AA)
     orisa Prisoner Habeas Ccxpus case (^7).                      RPSunVTWfvProcPss fRealPraii«tii\
                                                                                                                               RC Restricted ChHI Actions
                                                               S01 Summary Process - Resteeniia!        (X)
                                                               802 Summary Process - Commerdat/                      E19Sex OffenderRegistry, G.L c 6, § 178M (X)
                                                                          Non-residenbal
                                                                                                                     E27 Minor Seeidng Consent, G.L. c.112. §12si[X)
                                                                                                        (F)
                                                           TRANSFER YOUR SELECTiON TO THE FACE SHEET

          EXAMPLE:

          CODE NO.                         TYPE OF ACTION(specify)                       TRACK            HAS A JURY CLAIM BEEN MADE?
                                                                                                              ^YES            •mo
          BOS                   M^or Veiucle Ned^gettoe-Personal Injury                     F       .


                                           STATEMENT OFDAMAGES PURSUANT TO G.L c. 212, § 3A
DUr^ OF THE P^INTIFF -The plaintiffshall setfioilh, on the face ofthe ch/fl action coversheet (or attach additional sheets asnecessary), a
statement specihlinfl the facts on whk^ the plaintiff r^ies to determine money damages. Acopy of such cMI action coversheet, indutSng the
statementasto the damages, shall be served with the complaint Acterfc-maglstrate shall not acceptfor filing a complaint, except as
otfieiviifse pioidded bylaw, unless itIsaccompanied by such a statementsigned by the attorneyorself-fepresented litigant
DUTY OF THE DEFENDANT -Ifthe defandant believesthat the statement ofdamages filed by the plaintiff isadequate, the defendant may
file wifii his/her answer astatementspectfymg the potential damages which may result ifthe p^tiffprevais.

                                       A CIVIL COVER SHEET MUST BE FILED WITH EACHCOMPLAINT.
                           FAILURE TO COMPLETE THIS COVER SHEET THOROUGHLY AND ACCURATELY
                                                         MAY RESULT IN DISMISSAL OF THIS ACTION.
        Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 62 of 87



 Alvin Holder V. Boston Police Department, et. al.

                CIVIL ACTION COVER SHEET - ATTACHMENT
 Tort Claims:

 Section F:Other documented items of damage:

 Damage to personal and professional reputation / goodwill; Harm to his ability to perform his
 job as a police officer and his ability to participate in basic life activities; Lost educational and
 career opportunities and opportunities for advancement; Emotional Distress and harm to
 psychological and physical health; Attorneys fees; Costs; and Interest.
 Section G: Brief description of Plaintiffs inlurv. including nature and extent of iniurv
 (describe).

 Plaintiff is the victim of afalse accusation of untruthfulness by fellow BPD employees and
 ongoing fraudulent activity by his employer (the BPD) and other Defendants tocover it up. For
over ten years Plaintiff has had the untruthfulness determination in his record, which BPD has
not removed despite recent surfacing ofa BPD Internal Affairs report showing it is false, and
showing that a BPD attorney defrauded the arbitrator into ruling against Plaintiff in 2013 by
withholding the report from evidence and misrepresenting its contents.
Plaintiff has suffered irreparable harm to his reputation because the untruthfulness finding has
caused others to perceive him as untrustworthy, which is particularly problematic given that he
is a police officer and being credible is a key part of his job. Plaintiff has a permanent mark on
his record and it harms his ability to testify as a government witness.

Plaintiff was unable tofinish completing his bachelor's degree and has been deprived of
multiple promotions within the BPD and more than$600,000.00 in compensation, as a result of
the false accusations and fraudulent conduct by Defendants. It is anticipated that, going
forward. Plaintiff will continue to experience lost opportunities for promotion and will suffer
lost earnings ofmore than an estimated $1,000,000.00 between now and his anticipated
retirement. Plaintiff isentitled to multiple damages forthe lost wages incurred.

Plaintiff also had his personal firearm taken away for four years asa retaliatory measure and is
entitled to compensation for conversion ofproperty. Plaintiff has incurred significant attorneys
fees investigating these unlawful acts, requesting documents and information from the BPD
and the City of Boston to which he is legally entitled, seeking removal ofthe untruthfulness
determination, and affording the BPD the chance to rectify this situation. But the BPD and the
City ofBoston have outright ignored his requests, refusing to investigate and refusing totake
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 63 of 87



sny action, and violating an administrative Order to produce records, and violating state and
federal law. Plaintiff is entitled to recovery ofALL ofhis attorneys fees, including fees for all
pre-suit efforts to obtain relief from Defendants and all fees associated with this lawsuit.

Plaintiff's constitutional rights have also been violated, and he has been treated less favorably
thanwhite employees of BPD in the terms and conditions of his employment.
Plaintiff is also entitled to six figure damages for his emotional distress, given the harm to his
psychological and physical health.

All damage figures are preliminary and Plaintiff reserves his right to provide further information
in the future, including an analysis of damagesfrom one or more experts.
        Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 64 of 87                                    "/•S/


COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss.                                          SUPERIOR COURT DEPARTMENT
                                                      CrviL ACTION NO.



                                                                 SUFFOLK, SS,. ,
ALVIN HOLDER,

        Plaintiff,

V.                                                                            Assista'ntCk

BOSTON POLICE DEPARTMENT,
                                                                                                 o
CITY OF BOSTON,                                                                    m
                                                                                                 ~o
WILLIAM GROSS, in his Official Capacity
                                                                                            CO   J.-
as the COMMISSIONER OF THE BOSTON
                                                                                   -i- c/            tcz
POLICE DEPARTMENT,                                        Notice sent              ':>n.          -*0

WILLIAM EVANS and EDWARD DAVIS,                           2/18/2020
                                                                                            >    00
each in his Official Capacity as former                   J. A.    H.
                                                                                   >=t:
                                                          H. LAW G.,P.C.
COMMISSIONER OF THE BOSTON                                                         —iC
                                                                                   m             C-5O
                                                          J.A.    H.
POLICE DEPARTMENT,                                                                          UJ

NICOLE TAUB, individually and in her
Official Capacity as Former Senior Staff Attorney
for the BOSTON POLICE DEPARTMENT,
KENNETH FONG, individually and                            (sc)
in his Official Capacity as
BOSTON POLICE DEPARTMENT CAPTAIN,
and SHAWNWILLIAMS, in his Official Capacity
as DIRECTOR OF PUBLIC RECORDS AND
RECORDS ACCESS OFFICER for the
CITY OF BOSTON AND THE BOSTON
POLICE DEPARTMENT,

Defendants.



                     MOTION TO APPOINT SPECIAL PROCESS SERVER

       ThePlaintiffhereby requests pursuant to Mass. R. Civ. Proc. 4 (c), that this Honorable
Court appoint as special process serverSouth CoastLegal Services, Inc. d^/a The Constable's
Network, by itsDeputy Sheriffs, Constables, or Agents, who are qualified persons over the age
of 18, knowledgeable in the service of process, and who are disinterested parties in this action.
Specifically, thePlaintiff requests thatthe court authorize the special process servers to serve
process issued by this Court in accordance with M.G. L. c. 235.
           Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 65 of 87



                                                  Respectfully submitted,
                                                  Plaintiff, Alvin Holder
                                                  By His Attorneys,


                                                  Julie A. Halabyfp^q. BBO No. 630124
                                                  Jon A. Halal^j^^sq. BBO No.: 666003
                                                  Halaby Law Group, P.C.
                                                  14 Main Street
                                                  Hingham, MA 02043
                                                  Tel: (781) 749-0909
                                                  Fax: (781) 749-0997

Dated         i|i|                                iuliehalabv@.halabvlegal.com
                                                  jonhalabv@halavlegal.com




   I HEREBY ATTEST AND CERTIFY ON
  April 28, 2020
   FOREGOING DOCUMENT IS A FULL
   TRUE AND CORRECT COPY OF THE
                                       '--A
   ORIGINAL ON FILE IN MYOFFICE.
   AND IN MY LEGAL CUSTODY.

             MICHAEL JOSEPH DONOVAN
             CLERK/MAGISTRATE
             SUFFOLK SUPERIOR CIVILCOURT
             DE.£AffFWtgWT^QEJri IE TRIAL COURT

   BY;.

          First Asst. Clerk
                Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 66 of 87




                                             SUFFOLK SUPERIOR COURT
                                        ComrWiaNik(g;^fif*^ liRSS^chusetts

        SUFFOLK, SS.
                                             ^MS APB          IAntliAOtauRT ofthe commonwealth
                                                                    SUPERIOR COURT DEPARTMENT
                                                     ' /H^A
                                                CLERK/MAGIS
                                                                                 NO. 9&&4 CM OP'S 80
                                            PLAlNTiFF(S),


         fe&W^ P^>l;c€\)<;fx^f4t)^/        , DEFENDANT(S)

                                                        SUMMONS


        THIS SUMMONS IS DIRECTED TO mA\i<k>n. Gr-C»g5/i»> \\\S          (pBfendanfs name)
                                   Ccx^paC^^        Cciv»#s*vSc)Ae<"o^v^feWo V^Vc.^ \>tp«i4«»<A*n
        You are being sued. The Flaintiff(s) named above has started a lawsuit against you. Acopy of the
        Plaintiffs Complaint filed against you is attached tothis summons and the original complaint has been
        filpH                                    Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

1.      You must respond to this lawsuit in writing within 20 days. If you do'not respond, the court may decide
        the case against you and award the Plaintiff everything asked for in the complaint. You will also lose'the
        opportunity to tell your side ofthe story. You must respond to this lawsuit in writing even if you expect,
        to resolve this matterwith the Plaintiff.. If you need more time to respond, you may requestan
         extension of time in writing from the Court.
2.       How to Respond. To respond to this lawsuit,.you must file awritten response with the court ^ mail a
         copy to the Plaintiffs Attorney (or the Plaintiff, if unrepresented). You can do this by:
     a. Filing your signed original response wlth the Clerk's Office for Dvil Business,           ^ Court,
                    fi/ida/) (address), by mall or in person, AND
     b. Delivering or mailing acopy of your response tothe Plaintiffs Attorney/Plaintiff atthe following
                   i-kUfcy                    PC , ^V                                     '^(W^
3        What to include in your response. An "Answer" is one type ofresponse to a Complaint. Your Answer
         must state whether you agree or disagree with the factls) alleged in each paragraph of the Complaint.
         Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
         use them in court. If you have any claims against the Plaintiff (referred toas counterclaims) that are
         based on thesame facts or transaction described in the Complaint, then you must Include those daflms
         in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
         lawsuit. If you want to have your case heard by ajury, you must specifically request ajury trial In yoUr
         Answer orin awritten demand for ajury trial that you must send to the otherside and file with the.
         court no more than 10 days after sending your Answer. You can also respond to aCqmpiaint by filing a
         "Motion to Dismiss/' if you believe that the complaint Is legally invalid or legally insufficient AMotion
         to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
         you are filing aMotion to Dismiss, you must also comply with the filing procedures for ."Civil Motions"
         described inthe rules ofthe Court inwhich the complaint was filed, available at
         www.mas5.gov.courts/case-legai-res/rules ofcourt.
                        Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 67 of 87




        4.        Legal Assistance. You may. wish to get legal help from a lawyer. Ifyou cannot get legal help., some basic
                  Information for peoplewho representthemselves Is available at www.mass.gQv/cQurts/selfhelp.
        5.        Required information on all filings: The "civil docket number" appearing at the top of this notice is the
                  case number assigned, to this case and must appear on the front of your Answer or Motion to Dismiss.
                  You should refer to yourself'as the "Defendant."

                  Witness Hon. Judith Fabricant, ChiefJustice on febrvK.ry                           zolO.

               Michael Jpsepfr Donovan
               CFerk-Magistrate

               Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lavysuit should be indicated on the
               summons before it i.sserved on the Defendant.




                                                     PRCM3F OF SERVICE OF PROCESS

                     I hereby certify that on                               , 20  , 1served a copy of this summons,
              together with a copy of the complaint in this action, on the defendant named.in this summons, In the
              following manner {See Mass. R. Civ. P. 4 (d)(l-5)):



                                                 COMMONWEALTH OF MASSACHUSETTS
                                                     Superior Court Department
                                                           Suffolk County Division
                                                      Docket/Case No: TBD 2084CV00380
Ihereby certify and return that today, March 5,2020, at 10:14 AM, Iserved atrue and attested copy of the within Summons
looether with acoDV of the Complaint in this action upon the within named William Gross, by leaving said ropies wrth Jennifer
Samson alLS CmI Cov^^^^ w/AttachmentA. Exhibit Aand Band Civil Tracking Order at Commi^oner Bo^on Pol ce
Department 1Schroder Plaza, Boston. MA 02120 hisAier last and usual place of business. Furthermore, later this          ^J
maned (first'class postage prepaid) additional true and attested copies to the within named William Gross, at Commissoner Boston
Police Department, 1 Schroder Plaza, Boston, MA 02120.
Signed
     /n
       under the
              /O
                 pains and penalties of perjury today, March
                                                        ;
                                                             5, 2020.                      ihereby attect and certify on
                                                                                         "pT'lJ. 2o • - 2020
    ^         ^                                                                           ^                    THAT-mC •.
                                                                                           FOREGOING DOCUWENT ISA FULL \
   :  ^         ^      .                                                                   TRUE AND CORRECT COPY
                                                                                           inuc MINLtOUMMCUl   UUfY OF
                                                                                                                    Ul- THE
                                                                                                                        If       "S
Gavin Castagna, Constable                                      -.cc nn                     original on file in my office.
& Disinterested Person over Age 18.           Total Fees: $55.00                           andin my legal custody.
The Constable's Network               .^       ..a nooRnoiTi                                          michaeljoseph donovan
764 Plain Street, Suite Two, Marshfield, MA, 02050-2171                                               clerk/magistrate
(781) 837-0500 , (781) 837-0700 Fax
                                                                                           BV:                         ^
                                                                                                 First Asst. Clerk
         Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 68 of 87
                                                                                                                i



    SUFFOLK SS                        ' HIBs APB -*l IA H' ^ALCOURTOFTHE     COMMONWEALTH
                                                           SUPERIOR COURT DEPARTIVIENT
                                      MICHAEL JOSLTH uONOm docket no. -aOftM CV oO^gaQ
                                        CLERK / MAGISTRATE
                    ^\\ejr               PLAINTIFF(S),

                fbi»ce £^pari-w«^
             oF          g k- r.\.       DEFENDAIMT(S)
                                                     SUWIWIONS               V     .
                                       M;co\e.                                   iisVer
    THIS SUMMONS IS DIRECTED TO nCg-.i^^oA .CcLfficXXy
                                      5X0^                              fevu:
    You gre being sued. The Plalntiff(s) named above has started a lawsuit against you. Acopy ofthe
    Plaintiffs Complaint filed against you is attached tothis summons and the original complaint has been
    filpri in thP          -S . ^.r^or        Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.
    You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
    the case against you and award the Plaintiff everything asked for in the complaint You will also lose the
    opportunity totell your side ofthe story. You must respond tothis lawsuit in writing even if you expect
    to resolvethis matter withthe Plaintiff.. Ifyou need more time to respond, you may request an
    extension of time in writing from the Court.
    How to Respond. To respond to this lawsuit, .you must file awritten response with the court ^ mail a
    copy to the Plaintiffs Attorney (or the Plaintiff, if unrepresented). You can do this by;
a. Filing your signed original response with the Clerk's Office for Qvil Buslnes5.'^./M-d\<ASo^<'^.aiCourt,
•                      (address), by mail or in person, AND
b. Delivering ormailing a copy of your response tothe Plaintiffs Attorney/Plaintiff atthe following
    address:                 LaiuJI                                      Jpn^lryiM.          CW}
    Whatto include in your response. An "Answer" isone typeof response to a Complaint. Your Answer
    must state whelher you agree or disagree with thef2ct(s) alleged in each paragraph of theComplaint.
    Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
    use them in court, if you have any claims against the Plaintiff (referred to as counterclaims) thatare
    based on thesame facts ortransaction described in the Complaint, then you must include those dsfims
    in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
    lawsuit If you want to have your case heard by ajury, you must specifically request ajury trial in yoUr
    Answer orin a written demand for ajury trial that you must send totheother side and file with the
    court no more than 10 days after sending your Answer. You can also respond to aCqmplaint by filing a
    "Motion to Dismiss/' if you believe thatthe complaint is legally invalid or legally insufficient AMotion
    to Dismiss must be based on one ofthe legal deficiencies orreasons listed under Mass. R. Civ. P. 12. If
    you are filing aMotion to Dismiss, you must also comply with the filing procedures for ."Civil Motions"
    described in the rules ofthe Court In which the complaint wasfiled, available at
    www.mass.gov.courts/case-legal-res/rules ofcourt.
                       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 69 of 87




       4.      Legal Assistance. You may. wish to get legal helpfrom a lawyer. Ifyou cannot get legal help., some basic
               Information for people who represent themselves is aVajlabf&et'www'mass.gov/courts/selfhelp.
       5.      Required Information on all filings: The "civil docket number" appearing at the top of this notice Is the
               case number assighed.to this case and must appear on the front of your Answer or Motion to Dismiss.
               You should refer to yourself "as the "Defendant."

               Witness Hon. Judith Fabricant, Chief Justice on                                       20^


               Michael jpsepirDohovan
               crerk-Maglstrate

               Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lavysuitshould be indicated on the
              summons before it is served on the Defendant




                                                    PRCMDF OF SERVICE OF PROCESS

                        I hereby certify that on __                                    , 20    , I served a copy of this summons,
              together with a copy of the complaint in this action, on the defendant named in this-summons, in the
              following manner (See Mass. R. Civ. P. 4 (d)(l-5)):




              Dated:                                     , 20                    Signature:

                                                  COWIMONWEALTH OF MASSACHUSETTS
                                                            Superior Court Department
                                                                Suffolk County DIvisipn
                                                      Docket/Case No: TBD 2084CV00380
Ihereby certify and return that today, March 18, 2020, at 1:53 PM, Iserved a true and attested copy of the within Summons
together with a copy of the Complaint in this action upon the within named Nicole Taub, by leaving said copies along with Civil
Cover Sheet w/Attachment A. Exhibit Aand Band Civil Tracking Order, at 56 Fayv/ood Avenue, Apartment 2, Boston, MA, 02128
his/her last and usual abode. Furthermore, later this same day Imailed (first class postage prepaid) additional true and attested
copies to the within named Nicole Taub, at 56 Faywood Avenue, Apartment 2. Boston, MA, 02128.
Slq^under the p^ and penalties of perjury today. March 18, 2020.                                 iherebyattUtandcertifyon
                                                                                                                         THAT THE

Gavin Castagna, Constable                                                                       true andco°R^Ecfc^^^^                 Y
& Disinterested Person over Age 18.           Total Fees: $55.00                                originalon file in my office.
The Constable's Network                                                                         and in my legal custody
764 Plain Street, Suite Two, Marshfield, MA, 02050-2171                                                    michael joseph donovan
(781) 837-0500 , (781) 837-0700 Fax                                                                              ' magistrate
                                                                                                          Suffolk superior civil court
                                                                                                                  ^^nrr Tiir tpjal court

                                                                                                      Fifs^ Asst
                Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 70 of 87




                                           Co m


           SUFFOLK, §S.                                                    ..COURT OFTHE COMMONWEALTH
                                                                             Jr court DEPARTMENT
                                               hichaei josripii {jigaviLpgcKETNo.               c\J cx>3An
                                                  CLERK / .MAGISTRATE
            kW.rxWoX^r                        , PLAINTIFF(S),

             ClU rS                            D
                                               DEFENDANT(S)

                                                           iUMMONS


           THIS SUMMONS IS DIRECTED TO P^CS<At>n Pg.\% Ce ^^-LpVt^fcA-V-. (Defendant's name)
           You are beingsued. The Plalntiff(s) named above hasstarted a lawsuit against you. Acopy ofthe
           Plaintiff's Complaint filed against you is attached to this summons andthe original complaint has been
           filed in the               Sa:per%cr Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.
1.         You must respond to this lawsuit in writing within 20 days. Ifyoudo notrespond, the courtmay decide
           the case against you andaward the Plaintiff everything asked for in the complaint. You will also lose the
           opportunity to tell your side ofthe story. You must respond to this lawsuit In writing even if you expect
           to resolve this matter with the Plaintiff. Ifyou need more time to respond, you may request an
           extension of time in writing from the Court.
2.         How to Respond. To respond to this lawsuit, .you must file awritten response with the court and mail a
           copy tothe Plaintiff's Attorney (or the Plaintiff, If unrepresented). You can do this by: •
     a. Filing your signed original response with the Clerk's Office for Ovil Business.<>iiT4\K5uptfidCourt,
       3                     (address), by mail or in person, AND
     b. Delivering or mailing a copy ofyour response to the Plaintiffs Attorney/Plaintiff atthe following
           address: j4tl\nhf UtL^                   PCj lU PVi)n^k-£e>i;
3.         What to include inyour response. An "Answer" is one type of response to a Complaint Your Answer
           niusl state whether you agree ordisagree with the fact(s) alleged in each paragraph ofthe Complaint.
           Some defenses, called affirmative defenses, must bestatedin your Answer or you may'lose your right to
           use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
           based onthe samefacts or transaction described inthe Complaint, then you mustinclude those clafims
           In your Answer. Otherwise, you may lose your right tosue the Plaintiff about anything related tothis
           lawsuit ifyou want to have your case heard by ajury, you must specifically request ajury trial in yoUr
           Answer or in a written demand for a jurytrial that you mustsend to the other sideandfile with the
           courtno more than 10days after sending your Answer. You can also respond to a Cqmplaint by filing a
           "Motion to Dismiss," ifyou believe that the complaint Is legally invalid orlegally insufficient AMotion
           to Dismiss must be based onone of the legal deficiencies or reasonslisted under Mass. R. Civ. P.12. If
           you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
           described in the rules of the Court in which the cpmplaint was filed, available at
           www.mass.gov.courts/case-legal-res/rules of court.
                          Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 71 of 87




           4.       Legal Assistance. You may. wish to get legal help from a lawyer, ifyou cannot get legal help, some basic
                    information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
           5.       Required informatton on all filings: The "civil docket number" appearing at the top ofthis notice is the
                    case number asstgrted.to this case and mustappear on the front ofyourAnswer or Motion to Dismiss.
                    You should refer to yourself"as the "Defendant."

                 Witness Hon. Judith Fabricant, ChiefJustice on                               9A. 20 ?Q .

                 Michael J^eplrDonovan
                 CFerk-Magistrate

                Mote: The number assigned to the Complaint bythe Clerk-Magistrate at the beginning of the lawsuit shouldbe indicated on the
                summons before it is served on the Defendant




                                                     PROOF OF SERVICE OF PROCESS

                        I hereby certifythat on                               20 , 1served a copyof this summons,
                •togetherwith a copy of the complaintIn this action, on the defendant named.inthis summons, in the
                foiiowing manner (See Mass. R. Civ. P. 4 (d)(l-5)):




                Dated:                               ___r20                      Signature:



                N.B.      TO PROCESS SERVER:



                                                   COMMONWEALTH OF MASSACHUSETTS
                                                               Superior Court Department
                                                                Si^olk County Division
                                                       Docket/Case No: TBD 2084CV00380
Ihereby certify and return that today. March 5.2020, at 10:14 AM, Iserved a true and attested copy of the within Suminons
together with a copy of the Compiaint In this action upor| the within named Boston Police Department, by giving in handl to Jennifer
Samson, along with Civil Cover Sheet w/Attaohment A. Exhibit Aand Band Civil Tracking Ord^.A^                                                 Said service
was effectedat Boston Poiloe Department, 1 Sohroeder Plaza, Boston, MA 02120.
Signed
  y    upder thejiains and penalties of perjury today, March 5, 2020.                                 April  28 DOCUMENT
                                                                                                      FOREGOING y 2020 ISAFULL
                                                                                                                            the
       /                                                                                                TRUE ANDCORRECT COPY OF THE
                V                J                                                                      ORIGINAL ON FILE IN MY OFFICE.
Gavin Castagna, Constable                                                                   <           and in my legalcustody.
& Disinterested Person over Age 18.            Total Fees: $55.00                                                 michael josephdonovan
The Constable's Network                                                                                           clerk / magistrate
'' ;       . Oi.—X e.                           MA                                                                Suffolk superior civil court
764 Plain Street, Suite Two, Marshfield, MA, 02050-2171                                                           DEpiffiT^NTpiHTrE'tria court
(781) 837-0500 , (781) 837-0700 Fax
                                                                                                            First Asst.         Clerk
         Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 72 of 87




                                                              Massachusetts

   SUFFOLK, SS.                            ~9/AII: Ob nHIAL COURT OFTHE COiVIMONWEALTH
                              H/CHAEL JGs-.        .1   ^,    SUPERIOR COURT DEPARTMENT
                                 clerk / HAGIsVrat^'^^             docket no.            C[/003^0
                  V^oVXP-C-             PIAINTIFF(S),
    V.

     ficsLcn iftjjKe
     oXynQ-                             DEFENDANT(S)
                                                    SUMMONS                . ^

    THIS SUMMONS IS DIRECTED TOO^\f;>tA Ca.^clVy nJk flcft-VoA                      (Defendant's name)
    You are being sued. The Plalntiff(s) named above has started a lawsuitagainst you. Acopyof the
    Plaintiff's Complaint filed against you is attachedto this summonsand the original complaint has been
    filed in the 5uK^\V-x 6 v^gdrj^PCourt. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

    You must respond to this lawsuit in writingwithin 20 days. Ifyou do not respond, the court may decide
    the case against you and award the Plaintiff everything asked for in the complaint You will also lose the
    opportunity to tellyourside ofthe story. You m.ust respond to this lawsuit In writing even ifyou expect
    to resolve this matter with the Plaintiff.. If you need more time to respg.nd, you may request an
    extension of time in writing from the Court.
    How to Respond. To respond tothis lawsuit, you must file a written response with the court and mail a
    copy to the Plaintiffs Attorney (or the Plaintiff, ifunrepresented). You can dothis by;
a. Filing your signed original response'with the Clerk's Office for Qvil Business.jljt^eA^ Wr^cTCourt,
                       (address), by mail or In person, AND
b. Delivering or mailing a copy of your response to the Plaintiffs Attorney/Plaintiff at the following .
    address:

    What to include in your response. An "Answer" is one type of response to a Complaint. YourAnswer
    must state whether you agree or disagree with thefart(s) alleged in each paragraph of the Complaint.
   Somedefenses, called affirmative defenses, mustbe stated in yourAnswer or you may loseyour right to
   use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
    based orithe same facts or transaction described in the Complaint,then you must include those claims
   In yourAnswer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
   lawsuit. If you want to have your case heard by ajury, you must specifically request ajury trial in yoUr
   Answer or in a written demand for a jurytrialthat yo'u must send to the other side and filewith the
   court no morethan 10 days after sending yourAnswer. You can also respond to a Cqmpiaint by filing a
   "Motion to Dismiss/' Ifyoubelieve that the complaint is legally invalid or legally insufficient. AMotion
   to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R,Civ. P. 12. If
   you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
   described in the rules of the Court in which the complaint was filed, available at
   www.mass.gov.courts/case-legal-res/rules of court.
                         Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 73 of 87




                 Legal Assistance. You may wish toget legal help from alawyer, if you cannot get legal help., some basic
                 information for people who represent themselves is available atwww.mass.gov/courts/selfhelp.
                 Required information on all filings: The "civil docket number" appearing atthe top of this notice is the
                 case number assighed.to this case and must appear on the front of your Answer or Motion to Dismiss.
                 You should referto yourself'asthe "Defendant."

                 Witness Hon. Judith Fabricant, ChiefJustice on tV<bruMy                          '2o7Q_.
             y
                 Michael      jepifDonovan
                 crerk-Magistrate

                 Note: The number assigned tothe Complaint by theClerk-Magistrate atthe beginning ofthe lavysuit should beindicated on the
                 summons before it is served on the Defendant.




                                                        PROOF OF SERVICE OF PROCESS

                           I hereby certify that on _                                   20 ' , i served a copy ofthis summons,
                 together with a copy ofthecomplaint in this action, on the defendant named in this summons, inthe
                                      fr-   nn--^   n   /~T./   n   n   lA\l-y   rM-



                                                    COMMONWEALTH OF MASSACHUSETTS
                                                         Superior Court Department
                                                          Suffolk County Division
                                                          Docket/Case No: TBD 2084CV00380
Ihereby certify and return that today, March 5. 2020, at 2:22 PM, Iserved atrue and attested copy of the within Summons together
with a copy of the Complaint in this action upon the within named Kenneth Pong, by giving in hand to Minhael Park, Clerk, along
with Civil Cover Sheet w/Attachment A, Exhibit Aand Band Civil Tracking Order, Agent in Charge. Said service was effected at:
Boston Police Captain, 1 Schroder Plaza. Boston, MA 02120.                              ihereby attest and certifyon
Signed under the pains and penalties ofperjury today, March 5, 2020. April 28. 2020 ,THATTHE
                                                                                        FOREGOING DOCUMENT IS A FULL
                                                                                        TRUE AND CORRECT COPY OF THE
                                                                                        original on file in my OFFICE.
Gavin Castagna^donstable                                                                ANt^lN MY LEGAL CUSTODY.
& Disinterested Person over Age 18.             Total Fees: $55.^
                                                                                                  MICHAEL JOSEPH DONOVAN
The Constable's Network                                                      g                    CLERK / MAGISTRATE
764 Plain Street, Suite Two, Marshfield, MA, 02050-217"p                                          SUFFOLK SUPERIOR CIVIL COURT
                                                                                                  DEPABTMfiNT 0FJii£J«4At.C0URT
(781) 837-0500 . (781) 837-0700 Fax
                                                                                        BY-

                                                                                              First Asst. Clerk
               Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 74 of 87




                                           SUFFOLK SUPERIOR COURT
                                             CIVIL                               ^
                                         CommonwjeaSth of K^ssachusetts
                                          ^ZOZfl Affl-qi A       COURT OF THE COMMONWEALTH
        SUFFOLK, §S.
                                          MICHEL JOSEFH OuHO^yj?fWOR COURT DEPARTMENT
                                             CLERK / HAGISTRATfiviL DOCKET NO. h^MCVar^PiCi

                       WtAXgr-                plaintiff(s),


                                            . DEFENDANT(S)

                                                         SUMMONS
                                                                                     U(U\y O.S
         this SUMMONS IS DIRECTED TO g..:-«Yv^f^                       CT e\('       ^bsVoo (Defendants name)
                                            9oV» tc           mC n-V
         You are beingsued. The Plaintiff(s) named above hasstarted a lawsuit againstyou. Acopy of the
         Plaintiff's Complaint filed against you Is attachedto this summons andthe original complaint has been
         filed inthei^LiO^oW^ SoP^xoP Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

1.       You must respond to this lawsuitin writingwithin 20 days. Ifyou do not respond, the court maydecide
         the case againstyou and award the Plaintiff everything asked for inthe complaint. You will also lose the
         opportunity to tellyour sideofthe story. You mustrespond to this lawsuit inwriting evenifyou expect
         to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
         extension of time in writing from the Court.
2.       How to Respond. To respond tothis lawsuit, you must file a written response with the court aj^ mail a
         copy tothe Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by;
     a. Filing yoursignedoriginal response'with the Clerk's Office for avli BusinessAj^c\^S^c:\cCCourt.
       'j P//»kf'Ln   P3?;4<yHaddress), by mail or in person, AND
     b. Delivering or mailing a copy ofyour response to the Plaintiff's Attprney/Plalntiff at the follqwing
         address;

3.       What to include in your response. An "Answer" is one type of response to a Complaint. Your Answer
        rnubt stale vvhethcr you agree or dis2g.''SE with thefart(s) alleged ineachparagraph of the Complaint.
        Some defenses, called affirmative defenses, must bestated in your Answer oryou may lose your right to
        use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
        based on the same facts or transaction described inthe Complaint, then you must Include those daflms
         in your Answer. Otherwise, you may lose your right tosue the Plaintiff about anything related to this
         lawsuit. If you want to have your case heard by ajury, you must specifically request a jury trial In yoUr
        Answer or in a written demandfor a jurytrial that you must send to the other side and filewith the
        court no more than 10days aftersending your Answer. You can also respond to a Cqmplaint by filing a
        "Motion to Dismiss," If you believe that the complaint Is legally invalid or legally insufficient. AMotion
        to Dismiss must be based on one ofthe legal deficiencies or reasonslisted under Mass. R. Civ. P.12. If
        you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
        described in the rules of the Court in which the cpmplaint was filed, available at
        www.mass.gov.courts/case-legal-res/rules of Court.
                          Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 75 of 87




       4.         Legal Assistance. You may. wish to get legal help from a lawyer. Ifyou cannot get legal help., some basic
                  information for people who represent themselves is available at www.mass.gov/courts/seIfhelp.
       5.         Required information onail filings: The "civil docket number" appearing atthetop ofthis notice is the
                  case number assighed.to this casearid mustappear onthe front ofyourAnswer or Motion to Dismiss.
                  You should refer to yourself"as the "Defendant."

                  Witness Hon. Judith Fabricant, ChiefJustice on ]^&hCoo^Y 9^                        , 203Q.

              y
                  Michael      jeprrljonovan
                  CFerk-Magistrate

                  Note:The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit shouldbe indicated on the
                  summons before It i.s served on the Defendant




                                                       PROOF OF SERVICE OF PROCESS

                            I hereby certify that on                                      20     , i served a copy of this summons,
               together with a copy ofthe complaint in this action, on the defendant named.in this summons, in the
               following manner (See Mass. R. Civ. P. 4 (d){l-5)]:



                                                    COMMONWEALTH OF MASSACHUSETTS
                                                              Superior Court Depertment
                                                                  Suffolk County Division

Ihereby certify and return that today, March 5, 2020. at 10;14                                                   with Jennifer
log^ with acopy ofthe Compiaintin Ws f^ExhM AanXnd                                          O^der, at^Former Commisoner, 1
Samson along with Civil Cover Sheet                         . business Furthermore, later this same day imailed (first class postage
                                                                                          I HEREBYATTESTANDCERTIFYON
Signed under the pains and penalties of perjury today, March 5, 2020.                    April 28, 2020                 yy,g
                                                                                          FOREGOING DOCUMENT IS A FULL,
                                                                                          TRUE ANDCORREOTCOPY OF THE
                                                                                          ORlGtNArON file IN MY OFFICE.         4
Gavin Castagna, Constable                                                                 AND IN MY LEGAL CUSTODY.
&Disinterested Person over Age 18.               Total Fees: $55.00
                                                                                                    MICHAEL JOSEPH DONOVAN
The Constable's Network                                           0-1-71                            CLERK / MAGISTRATE
764 Plain Street, Suite Two, Marshfield, MA, 02050-2171                                              SUFFOLK SUPERIOR CIVIL COURT
                                                                                                                                —aUITTr
(781) 837-0500 . (781) 837-0700 Fax
                                                                                               First Asst.
             Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 76 of 87                                         u




                                                    SUPcRfQR COURT
                                         Com^^4iv(rbil&h33®RTO5sachusetts
        SUFFOLK, SS.
                                           ^2020 APR - 9?A |iliR0{jCOURTOFTHECOi\/lMONWE/U.TH
                                                                  SUPERIOR COURT DEPARTMENT

                                            "cLm
          IX\o.A Wr,\Wr                      PLWNTIFF(S),


          ^IT-Fv of fVTCj/,;..     a|.     ,DEFENDANT(S)
                                                        SUMMONS                 ...
                                                                                      Gi^cA-y
        THIS SUMMONS IS DIRECTED TOft2£e.$5
                                     fi.f>^^^e£:VQC   QC'v«.
                                            6*^Acer s:£)C 9ub\;r
                                                             o ^y ^Cx^rX^     . (Defendants
                                                                      ©cs-t^T cx;^ o        name)
         You are being sued. The Plaintiff^) RamefaEove^^as^Sf^^ a^^sult against you. Acopy of the
         Plaintiffs Complaint filed against you is attached tothis summons and the original complaint has been
        filpH inthP^:^\V> Si^^r^rr               Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.
1.      You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
        thecase against you and award the Plaintiff everything asked for in the complaint. You will also lose the
        opportunity to tell your side ofthe story._ You must respond tothis lawsuit in writing even If you expect
        to resolve this matter withthe Plaintiff.. Ifyou need more time to respond, you may request an
         extension of time in writing from the Court.
2.       How to Respond. To respond to this lawsuit, .you must file awritten response with the court and mail a
         copy to the Plaintiffs Attorney (or the Plaintiff, if unrepresented). You can do this^jj^
     a. Filing your signed original response"with the Clerk's Office for Qvii Business,                     .
     3p93jyi§Ll%M«Q- (address), by mail or in person, AND
     b. Delivering ormailing a copy of your response to the Plaintiffs Attorney/Plaintiff atthe following
         address:
3.       What to include in your response. An "Answer" isone type of response to a Complaint. Your Answer
         must state whether you agree or disagree with, thefact(s) alleged in each paragraph of the Complaint.
         Some defenses, called affirmative defenses, must be stated In your Answer oryou may lose your right to
         use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
         based on the same facts ortransaction described in theComplaint, then you must include those dafims
         In your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
         lawsuit. If you want to have your case heard by ajury, you must specifically request ajury trial in yoUr
         Answer orin a written demand for ajury trial thatyou must send to the other side and file with the.
         court no more than 10 days after sending your Answer. You can also respond to a Cqmplaint by filing a
         "Motion to Dismiss," If you believe thatthe complaint Is legally Invalid or legally insufficient. AMotion
         to Dismiss must be based on one of the legal deficiencies orreasons listed under Mass. R. Civ. P. 12. If
         you are filing aMotion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
         described in the rules ofthe Court in which the complaint was filed, available at
         www.mass.gov.courts/case-legal-res/rules of court.
                         Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 77 of 87




       4.        Legal Assistance. You may. wish to get legal help from a lawyer, ifyou cannotget legal help., some basic
                 information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
       5.        Required information on allfilings: The "civil docket number" appearing at the top ofthis notice is the
                 case number asstghed.tothis case and must appear on the front of your Answer or Motion to Dismiss.
                 You should refer to yourself'as the "Defendant."

                 Witness Hon. Judith Fabricant, ChiefJustice onffhrty^r^                              20
             y
                 Michael       jeplTD"onovan
                 Cferk-Magistrate

                 Mote:The number assigned to the Complaint by the Clerk-Magistrateat the beginning of the lavysuit should be indicated on the
                 summons before it is served on the Defendant




                                                      PROOF OF SERVICE OF PROCESS

                           I
                                                                                          70     .1 served a coDV of this summons.

                                                     COMMONWEALTH OF MASSACHUSETTS
                                                                Superior Court Department
                                                                 Suffolk County Division
                                                         Docket/Ca^e No: TBD 2084CV00380
I hereby certify and return that today, March 5,2020, at 1:57 PM, i served a true and attested copy of the within Summons together
with a copy of the Complaint in this action upon the within named Shawn VVyiiams, by leaving said copies with Kelly Donovan
Clerk, along with Civil Cover Sheet w/Attachment A, Exhibit Aand Band civil Tracking Order, at Director of Public Records, 1
Schroder Plaza, Boston, MA 02020 his/her \as\. and usual place of business. Furthermore, later this same day I mailed (first class
postage prepaid) additional true and attested copies to the within named Shawn Williams, at Director of Public Records, 1
Schroder Plaza, Boston, MA 02020.                        I•
                                                                         I HEREBY ATTEST AND CERTIFY ON
Signed under the pains and penalties of perjury today, March 5, 2020.
                                                                                         Aprfil 28, 2020           THAT THE
                                                                                          F09EG0ING DOCUMENT IS A FULL
                                                                                          TRUE AND CORRECT COPY OF THE
Gavin Castagna, Constable                                                                 ORIGINAL ON FILE IN MY OFFICE.
& Disinterested Person over Age 18.             Total Fees: $55.00                        AND IN MY LEGAL CUSTODY.             '' ^
                                                                                                                                      •\
The Constable's Network                                                                              MICHAEL JOSEPH DONOVAN
764 Plain Street, Suite Two, Marshfield, MA, 02050-2171                                              CLERK/MAGISTRATE
                                                                                                     SUFFOLK SUPERIOR CIVIL COURT
(781) 837-0500 , (781) 837-0700 Fax                                                                  DEBARTMENTJJB^FHrTfilAL COURT



                                                                                                First Asst.
      Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 78 of 87




                                Commonwealth ofIvfaiferadmfeetts
                                            ! 2828 APR -Q / A II „
.,,™iif5c
SUrrOLK, Jj.                               .MiPU 4      IrKIKLroLWfeoFTHE COMMONWEALTH
                                           niUi.HCL J0Sc?¥iP'ERW/^9.URT DEPARTMENT
                                                                              "XmCMod^


 (\Vf.As \Xa\W                      PIA1NTIFF(5),
          Pohc£. 'O&x^rneA.^'
  Fi.^ ,.g (V^W ,        ,DEFENDANT(S)
                                                SUMMONS


THIS SUMMONS IS DIRECTED.TOC.-^m\gr'^s.->^in.^iQf\&r af ^V\g feosW^ (Defendant's name)
                                  FoV^cd
 You are being sued. The Piaintiff(s) named above has started a lawsuit against you. Acopy of the
 Plaintiff's Complaint filed against you is attached tothis summons and the original complaint has been
      in thP                               Couit. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

 You must respond tothis iawsuit in writing within ZO days. If you do not respond, the court may decide
 the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
 opportunity totell your side ofthe story. You must respond tothis law/suit in writing even If yon SLXpect
 to resolve this matter with the Plaintiff. Ifyou need more time to respond, you mayrequest an
 extension of time in writing from the Court.
 How to Respond. To respond to this lawsuit, .you must file awritten response with the court ai^ mail a
 copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by:
 Filing your signed original response with the Clerk's Office for Ovil Business.5L-R<M^Var«cr Court,
3P/A.WW...^/jkfa7(addre5s), by mail or in person, AND
 Delivering ormailing a copy of your response tothe Plaintiff's Attorney/Plaintiff atthe following .
 address: M-ia in ly Uit.j Am. PC 1'^ ^<t»o -Sffga/y
 What to include inyourresponse. An "Answer" isone typeof response to a Complaint. Your Answer
 must state whether yuu agree ui disagree vvith thsfact(s) alleged in each paragraph of thp Cnmplaint.
 Some defenses, called affirmative defenses, must be stated in your Answer oryou may lose your right to
 use them incourt. If you have any claims against the Plaintiff (referred toas counterclaims) that are
 based on thesame facts or transaction described in theComplaint, then you must include those cl^ms
 In your Answer. Otherwise, you may lose your right to sue the Plaintiffabout anything related to this
 lawsuit. If you want to have your case heard by ajury, you must specifically request ajury trial in yoUr
 Answer orin a written demand for ajury trial thatyou must send tothe other side and file with the.
 court no more than 10 days after sending your Answer. You can also respond to aCo.mplamt by filing a
 "Motion to Dismiss/' if you believe thatthe complaint is legally invalid or legally insufficient. AMotion
 to Dismiss must be based on one of the legal deficiencies orreasons listed under Mass. R. Civ. P. 12. If
 you are filing aMotion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
 described in the rules ofthe Court in which the complaint wasfiled, available at
 www.mass.gov.courts/case-legal-res/rules ofcourt.
                       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 79 of 87




       4.       Legal Assistance.You may. Wish to get legal help from a lawyer, ifyou cannot get legal help., some basic
                information for people who represent themsdvesis available at www.mass.goy/cQurts/seifhelp.
       5.      Required information on allfilings: The "civil docketnumber" appearingat the top of this notice is the
               case number assigiied.tothis case and must appear on the front of your Answer or Motion to Dismiss.
               You should refer to yourself as the f Defendant."

               Witness Hon. Judith Fabricant, ChiefJustice on                                        , 20*30 .


               Mithael .(pseprrDonovan
               Clerk-Magistrate

               Note: The number assigned to the Complaint by the Cierk-lvldglstrate at the beginning of the lavysurtshould be indicated on the
               summons before it i.sserved on the Defendant.




                                                     PROOF OF SERVICE OF PROCESS

                                                   COWIIVIONWEALTH OF R/lASSACKUSETTS
                                                             Superior Court Department
                                                              Suffolk County Division
                                                       Docket/Case No: TBD 2084CV00380
Ihereby certify and return that today, March 5, 2020, at 10:14 AM, Iserved a true and attested copy of the within Summons
together with a copy of the Complaint in this action upon the within named William Evans, by leaving said copies with Jennifer
Samson along with Civil Cover Sheet w/Attachment A. Exhibit Aand Band Civil Tracking Order, at Former Commissioner. 1
Schroder Plaza, Boston, MA 02120 his/her \as\ and usual place of business. Furthermore, later this same day Imailed (first class
postage prepaid) additional trueand attested copies to thewithin named William Evans, at Former Commissioner 1 Schroder
Plaza Boston MA 02120                                                                          ^HEnssv attest and certify on
Signed ur}fler the pai^and penalties of perjuiy today, March 5, 2020.                        ^•or±^ 28 2020
                                                                                              FOREGOING DOCUMENT IS AFULL.
                                                                                              TRUE AND CORRECTCOPYOF THE
Gavlin Castagna, Constable                                                                    ORIGINAL ONFILE IN MY OFFICE.
&Disinterested Person over Age 18.                                                            AND IN MYLEGAL CUSTODY.
                                              Total Fees: $55.00
The Constable's Network                                                                                  MICHAEL JOSEPH DONOVAN
764 Plain Street, Suite Two, Marshfield, MA, 02050-2171                                                  CLERK/MAGISTRATE
(781) 837-0500 . (781) 837-0700 Fax                                                                      SUFFQUSL^UPERIOR CIVIL COURT
                                                                                                                                ^lALCOURT



                                                                                                  first      Asst.
              Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 80 of 87
                                                                                                                          fi"
                                                                                                                     M.




                                                  nwealtn ofT^assachusetts
                                                   "'''A II:           ^AL COURT OFTHE COMMOIMWEALTH
        SUFFOLK, SS.                 ^ICrfAri    in H c   .
                                        CLEk?          iiCf/O'/AMPERIOR COURT DEPARTMEIMT
                                                 ^^OlSTfiATi^yiLDpCKETNO.      30B^6n/QQ3^
          (\\m^a ^cWgr                      PLA1(MTIFF(S),    .



                                            DEFENDANT(S)

                                                          SUWIIVIOWS


        THIS SUMMONS IS DIRECTED ToC^lV^ ng*                                            (Defendant's name)

         You are being sued. The Plaintlff(s) named above has started a lawsuit against you. Acopy ofthe
         Plaintiff's Complaint filed against you Is attached tothis summons and the original complaint has been
         filpri in the              per vOC Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS-
1.      You must respond tothis lawsuit in writing within 20 days. If you do not respond, thecourt may decide
        the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
         opportunity totell your side ofthe story. You must respond to this lawsuit In writing even If you expeci
         to resolve this matter with the Plaintiff. Ifyou need moretime to respond,you mayrequest an
         extension of time In writing from the Court.
2.       How to Respond. To respond to this lawsuit, you must file awritten response with the court a^ mail a
         copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by: _
     a. Filing your signed original response with the Clerk's Office for Qvil Buslness.^ufftjlk j^P^'^ourt,
                           (address), by mall or In person, AND
     b. Delivering ormailing a copv of your response to the Plaintiffs Attorney/Plaintiff atthe following .
         address; MaXa-W LdLLj Gw>^p,96,14
3.       What to include in your response. An "Answer" isonetype ofresponse to a Complaint. Your Answer
         must stale whether you agree or disagree with thefartfs) alleged In each paragraph of theComplaint.
         Some defenses, called affirmative defenses, must be stated in your Answer oryou may lose your right to
         use them in court. If you have any claims against the Plaintiff (referred toascounterclaims) that are
         based on'the same facts ortransaction described in the Complaint, then you must include those claims
         in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
         lawsuit. If you want tohave your case heard by aJury, you must specifically request aJury trial In yoUr
        Answer orin a written demand for aJury trial thatyou must send tothe other side and file with the
        court no more than 10 days after sending your Answer. You can also respond to a Cqmplaint by filing a
        "Motion to Dismiss," If you believe thatthecomplaint is legally Invalid or legally insufficient AMotion
        to Dismiss must be based on one ofthelegal deflciendes orreasons listed under Mass. R. Civ. P. 12. If
        you are filing aMotion to Dismiss, you must also comply with the filing procedures for "Civil Mptlons"
        described Inthe rules ofthe Court in which the complaint wasfiled, available at
        www.mass.gov.courts/case-legal-res/rules ofcourt.
                     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 81 of 87




     4.       Legal Assistance. You may. wish to get legal help from a lawyer, ifyou cannot get legal help., some basic
             Information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
     5.       Required information on all filings: The "civil docket number" appearing at the top ofthis notice is the
             case number assigned.to this case arid must appear on the front of your Answer or Motion to Dismiss.
             You should refer to yourself"as the "Defendant."

             Witness Hon. Judith Fabricant, ChiefJustice on t^^ybA)e>cy 3-6                        20 90.

             Mibhael ipBeplTDonovan
             CFerk-Maglstrate

             Mote: The number assigned to the Complaint by the Clerk-Magistra te at the beginningof the iavvsuit should be indicated on the
             summons before it i.sserved on the Defendant




                                                   PROOF OF SERVICE OF PROCESS

                    I hereby certiiy that on _                              20   , I served a copy of this summons,
            •together with a copy of the complaint in this action, on the defendant named.in this summons, in the
            following manner (See Mass. R. Civ. P. 4 {d)(l-5)):




                                                   COMMONWEALTH OF MASSACHUSETTS
                                                             Superior Court Department
                                                              Suffolk County Division
                                                       Docket/Case No: TBD 2084CV00380
I hereby certify and return that today, March 4, 2020, at 2:31 PM, I served a true and attested copy of the within Summons together
with a copy of the Complaint in this action upon the within named City of Boston, by giving in hand to Reglne DeSir, along with
Civil Cover Sheet w/Attachment A, Exhibit A and B and Civil Tracking Order, Agent in Charge. Said service was effected at: City of
Boston, One City Hail Square, Boston, MA 02201.
Sign^fed under the pains and penalties of perjury today, March 4, 2020.                      I HEREBY ATTEST AND CERTIFY ON
                         "7                                                                April 28, 2020
                                                                                                                    ,.THAT THE
                                                                                             FOREGOING DOCUMENT IS A FULL,
GaVifi uas^na, 'Constable'                                                                   TRUE ANDCORRECT COPY OF THE
& Disinterested Person over Age 18.           Total Fees: $55.00                             ORIGINAL ON FILE IN MY OFFICE.
                                                                                             AND IN MY LEGAL CUSTODY.
The Constable's Network
764 Plain Street, Suite Two, Marshfieid, MA, 02050-2171                                                MICHAEL JOSEPH DONOVAN
                                                                                                       CLERK / MAGISTRATE
(781) 837-0500 , (781) 837-0700 Fax                                                                    SUFFOLK SUPERIOR CIVILCOURT
                                                                                                              ~^ENXjy Tl Id TRIAL COURT
                                                                                            byl

                                                                                                  First Asst.         Clerk
        Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 82 of 87




                         COMMONWEALTH OF MASSACHUSETTS                                      12
 SUFFOLK, ss.                                        SUPERIOR COURT DEPARTMENT
                                                     OF THE TRIAL COURT
                                                     CIVIL ACTION NO. 2084-cv00380F

 ALVIN HOLDER,

        Plaintiff,

        V.



 BOSTON POLICE DEPARTMENT,
 CITY OF BOSTON, WILLIAM GROSS, in his
 official capacity as the COMMISSIONER OF
 THE BOSTON POLICE DEPARTMENT,
 WILLIAM EVANS and EDWARD DAVIS, each
in his official capacity as former
COMMISSIONER OF THE BOSTON POLICE
DEPARTMENT, NICOLE TAUB, individually
and in herofficial capacity as former senior staff                        FILED

attorney for the BOSTON POLICE
                                                                       APR 0 9 2020
DEPARTMENT, KENNETH FONG,
individually and in his official capacity as THE
                                                                  MICHAEL JOSEPH DONOVAN
BOSTON POLICE DEPARTMENT CAPTAIN,                                          CLERK OF COURT
and SHAWN WILLIAMS, in his official capacity
as DIRECTOR OF PUBLIC RECORDS AND
RECORDS ACCESS OFFICE for the CITY OF
BOSTON AND THE BOSTON POLICE
DEPARTMENT,

       Defendants.



                     NOTICE OF FILING OF NOTICE OF REMOVAL

       Please take notice that the above-captioned case has been removed from the Superior
Court Department ofthe Trial Court, Suffolk County, to the United States District Court for the
District of Massachusetts. Acopy ofthe Notice ofRemoval filed with the United States District
Coiut is attached hereto as Exhibit A. In accordance with the provisions of 28 U.S.C.A
         Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 83 of 87



§1446(d), the filing of this Notice and the Notice of Removal effects the removal of this action,
and this Court may proceed no further unless and until the case is remanded.

Date: April 2, 2020                                            Respectfully submitted,
                                                               CITY OF BOSTON,
                                                               By its attorneys:

                                                               Eugene F. 0'Flaherty
                                                               Corppratic(5H^ounsel



                                                               Nieve Anjdm5 (BBO#6512ll
                                                               Senior Assistant Corporation Counsel
                                                               Edward F. Whitesell, Jr. (BBO#644331)
                                                               Assistant Corporation Counsel
                                                               City of Boston Law Department
                                                               City Hall, Room 615
                                                               Boston, MA 02201
                                                             (617) 635-4098 (NA)
                                                             (617) 635-4045 (EFW)
                                                             nieve.anjomi@boston.gov
                                                             edward.whitesell@boston.gov


                                               Certificate of Service

         I, Edward F. Whitesell, Jr., hereby certify that a true copy of the above document was
served upon all counsel of record via first class ni^il onApqI 2, 2020.



                                                      Edward         itesell, Jr

  1HEREBY ATTEST AND CERTIFY ON

                2020 that the
  FOREGOING DOCUMENT ISA FULL,       '
  TRUE AND CORRECT COPY OF THE       \
  ORIGINAL ON FILE INMY OFFICE.
  AND IN MY LEGAL CUSTODY.

           MICHAELJOSEPH DONOVAN
           CLERK/MAGISTRATE
           SUFFOLK SUPERIOR CIVIL COURT
               TRTMEJ!!1I.©P-TWE tP^AL COURT
 BY:

       First Asst. Clerk
       Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 84 of 87
                Case l:20-cv-10656 Document 1 Filed 04/02/20 Page 1 of 4


                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 ALVIN HOLDER,

         Plaintiff,

         V.
                                                            C.A. No. 20-10656

 BOSTON POLICE DEPARTMENT,
 CITY OF BOSTON, WILLIAM GROSS, in his
 official capacityas the COMMISSIONER OF
 THEBOSTON POLICE DEPARTMENT,
 WILLIAM EVANS and EDWARD DAVIS, each
 in his official capacity as former
 COMMISSIONER OF THE BOSTON POLICE
DEPARTMENT, NICOLE TAUB, individually
and in her official capacity as former senior staff
attorney for the BOSTON POLICE
DEPARTMENT, KENNETH FONG,
individually and in his official capacity as THE
BOSTON POLICE DEPARTMENT CAPTAIN,
and SHAWN WILLIAMS, in his official capacity
as DIRECTOR OF PUBLIC RECORDS AND
RECORDS ACCESS OFFICE for the CITY OF
BOSTON AND THE BOSTON POLICE
DEPARTMENT,

        Defendants.




                                   NOTICE OF RRMOVAI.

        Pursuant to 28 U.S.C.A. §§1331, 1441 and 1446, defendant City of Boston (the "City")
files this Notice ofRemoval of the above-captioned case from the Superior Court Department of
the Trial Court of the Commonwealth ofMassachusetts, Suffolk County, to the United States
District Court for the District of Massachusetts. In support of this notice of removal, the City
states as follows:
      Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 85 of 87
              Case l:20-cv-10656 Document 1 Filed 04/02/20 Page 2 of 4


                 CASE BACKGROUND AND GROUNDS FOR REMOVAL

        1.     On February 10, 2020, the plaintiffs commenced a civil action in the Suffolk
Superior Court against the City, among other defendants, styled Holder v. City ofBoston, et at.,
C.A. No. 20-00380F (the State Court Action"). Plaintiff's four hundred and eleven (411)
paragraph complaint asserts fifteen (15) counts against the defendants, including thirteen (13)
against the City and/or the Boston Police Department ("BPD")\ The counts against the City
include the first three counts, which allege violations of three federal statutes: 42 U.S.C.A.

§1983, 42 U.S.C.A. §1981(a) and 42 U.S.C.A. §1985. Plaintiff also asserts a series of state

statutory claims (under M.G.L. c. 149, §185 M.G.L. c. 66, §10, M.G.L. c. 149, §52C, M.G.L. c.
150C) and common law tort (civil conversion, fraud) and equitable claims (declaratory
judgment, injunctive relief) againstthe City.

       2.      As required by 28 U.S.C.A. §1446(a), attached as Exhibit A are copies of all

process, pleadings and orders served upon the City in the State Court Action.

       3.      The Notice of Removal is timely. Service of Plaintiffs complaint was made on

the City on March 4, 2020. This Notice of Removal was filed prior to the expiration of 30 days
from the date of service. See 28 U.S.C.A. §1446(b)(1); Murphy Bros.. Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344 (1999).

       4.      This Court has federal question subject matter jurisdiction over this matter

pursuant to 28 U.S.C. § 1331 as thecivil action arises under three separate sections of Chapter 42

of the United States Code.




' The Boston Police Department is not a separate and distinct legal entity, but rather a
department of the City.
      Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 86 of 87
              Case l:20-cv-10656 Document 1 Filed 04/02/20 Page 3 of4


        5.      Venue in proper in this Court pursuant to 28 U.S.C.A. §1441(a) because the State
Court Action is pending in Massachusetts.

        6.      To the extent that there are any true defendants other than the City^ in this action,
all such parties have consented, as required by28 U.S.C.A. 1446(b)(2)(A), to the removal ofthis
action to the United States District Court for the District of Massachusetts.

        7.      This Notice of Removal has been served on Plaintiffs counsel. A Notice of

Filing ofNotice of Removal (attached as Exhibit B'l will be filed in the Suffolk Superior Court
upon filing of this Notice of Removal.

        WHEREFORE, the City hereby removes the above-captioned case from the Superior
Court Department of the Trial Court for the Commonwealth of Massachusetts (Suffolk) and

requests that further proceedings be conducted in this Courtas provided by law.

Date: April 2,2020                                     Respectfully submitted,
                                                       CITY OF BOSTON,
                                                       By its attorneys:

                                                       Eugene F. 0'Flaherty
                                                       Corporation Counsel

                                                       /s/Edward F. Whitesell. Jr.
                                                       Nieve Anjomi (BBO#651212)
                                                       Senior Assistant Corporation Counsel
                                                       Edward F. Whitesell, Jr. (BBO#644331)
                                                       Assistant Corporation Counsel
                                                       City of Boston Law Department
                                                       City Kali, Room 615
                                                       Boston, MA 02201
                                                       (617) 635-4098 (NA)
                                                       (617) 635-4045 (EFW)
                                                       nieve.anjomi@boston.gov
                                                       edward.whitesell@boston.gov


  Claims asserted against the individual defendants "in an official capacity" are claims against
the City. "[A]n official-capacity suit is, in all respects other than name, to be treated as a suit
against the entity." Kentucky v. Graham, 473 U.S. 159, 165-66 (1985).
                                                  3
     Case 1:20-cv-10656-RGS Document 33 Filed 06/04/20 Page 87 of 87
              Case l:20-cv-10656 Document 1 Filed 04/02/20 Page 4 of 4


                                      Certificate of Service

       I, Edward F. Whitesell, Jr., hereby certify that on April 2,2020, atrue and correct copy of
this document filed through the ECF system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing and that paper copies will be sent to
those indicated as non-registered participants and counsel for the plaintiff, Julie A. Halaby, Esq.
and Jon A. Halaby, Esq., Halaby Law Group, P.O., 14 Main Street, Hingham, MA 02043,' who
have not yet made an appearance before this Court.


                                                     /s/ Edward F. Whitesell Jr.
                                             Edward F. Whitesell, Jr.
